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                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

 BERNHARDT TIEDE, II;                              §
 TEXAS PRISONS COMMUNITY                           §
 ADVOCATES; BUILD UP, INC. a/k/a                   §
 LIONESS: JUSTICE IMPACTED WOMEN’S                 §
 ALLIANCE; COALITION FOR TEXANS                    §
 WITH DISABILITIES; TEXAS CITIZENS                 §
 UNITED FOR REHABILITATION OF                      §
 ERRANTS,                                          §
                                                   §    Civil Action No.: 1:23-cv-01004-RP
               Plaintiffs,                         §
 v.                                                §
                                                   §
 BRYAN COLLIER, in his official capacity as        §
 Executive Director of Texas Department of         §
 Criminal Justice,                                 §
                                                   §
               Defendant.                          §

 PLAINTIFFS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW ON
         EMERGENCY MOTION FOR PRELIMINARY INJUNCTION


       Pursuant to the Court’s request, Plaintiffs submit the following proposed Findings of Fact

and Conclusions of Law on Plaintiffs’ Emergency Motion for Preliminary Injunction (ECF 50).
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                                     FINDINGS OF FACT

I.     THE ORGANIZATIONAL PLAINTIFFS’ INCARCERATED MEMBERS AND CONSTITUENTS
       FACE A SUBSTANTIAL RISK OF SERIOUS HARM FROM EXTREME HEAT.

       A.      Lioness: Justice Impacted Women’s Alliance (“Lioness”)

       Lioness is a traditional voluntary organization “made up of formerly incarcerated and

currently incarcerated women, girls, [and] gender expansive individuals in Texas.”1 Because the

Texas Department of Criminal Justice (“TDCJ”) currently houses people based on their biological

sex, rather than on their gender identity, TDCJ currently houses transgender women with men in

its facilities.2 Lioness’s “roughly 700 members” advocate for “appropriate and livable conditions

at TDCJ facilities” and work “to get its members and constituents safe from extreme heat.”3

Lioness’s board “consists entirely of formerly incarcerated women.”4 More than 400 of its

members are TDCJ inmates, and about 250 of those members are assigned to unairconditioned

units.5 Lioness’s members all joined the organization voluntarily, support its mission, help guide

its priorities, offer input and direction in this litigation, and receive updates about the case.6

Lioness’s incarcerated members also “guide all of [the organization’s] work,” by letting Lioness

know “what’s currently going on in their units,” and then Lioness “campaign[s] around those

issues.”7



1
  Final Hearing Tr. (July 30, 2024) at 26:19-22. Lioness is part of Build Up, Inc., a nonprofit
organization formed under the laws of New Jersey. (See Final Hearing Tr. (July 30, 2024) at 67:7–
10; see also ECF 90-1, Ex. L, Toon 2d Decl. ¶¶ 1–2; Def.’s Hearing Ex. 30.)
2
  Final Hearing Tr. (July 30, 2024) at 68:18–69:6.
3
  ECF 90-1, Ex. L, Toon 2d Decl. ¶¶ 2–8; see also Final Hearing Tr. (July 30, 2024) at 50:25–
51:8; ECF 50-8, Ex. H, Toon Decl. ¶¶ 4–7;
4
  Final Hearing Tr. (July 30, 2024) at 52:21-23.
5
  Final Hearing Tr. (July 30, 2024) at 51:9-11, 54:7-9; ECF 90-1, Ex. L, Toon 2d Decl. ¶¶ 2–8;
Pls.’ Hearing Ex. 62 (list of Lioness members currently incarcerated in TDCJ facilities).
6
  ECF 90-1, Ex. L, Toon 2d Decl. ¶¶ 7, 9, 16–23.
7
  Final Hearing Tr. (July 30, 2024) at 53:19–22.

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       Extreme heat in TDCJ prisons has been on Lioness’s radar “from day one.”8 It is a priority

for Lioness because of its board members’ “lived experience,” and it remains of paramount

importance, because Lioness members have “confirmed” that harm from extreme heat and lack of

air-conditioning continue this summer.9 This is nothing new. Lioness receives “[a] very large

number” of complaints from its incarcerated members “every summer” about the heat in TDCJ

prisons, the lack of air-conditioning, and TDCJ’s inadequate heat-mitigation measures.10 The

volume of those complaints has increased since 2022.11 Lioness has also identified specific

members housed in unairconditioned TDCJ units who “have been harmed or are at risk of harm

from the extreme heat in TDCJ facilities.”12 Lioness decided to join this lawsuit because it is

“concerned about incarcerated Texans’ health and . . . their life,” because “the majority of

[Lioness’s] membership is under the direct authority of [TDCJ].”13 The decision to join the lawsuit

was “not only a response to the complaints” Lioness received from its members about the extreme

heat, but also a result of its formerly incarcerated board members’ “lived experience” in the TDCJ

system.14

       B.      Texas Citizens United for Rehabilitation of Errants (“TX C.U.R.E.”)

       TX C.U.R.E. is an Austin-based criminal justice advocacy nonprofit.15 It was “created to

fight systemic and systematic mistreatment of people incarcerated in TDCJ’s custody, and to



8
  Final Hearing Tr. (July 30, 2024) at 53:23-54:6.
9
  Id.
10
   Id. at 56:18–22.
11
   Id. at 56:14–57:5.
12
   ECF 90-1, Ex. L, Toon 2d Decl. ¶¶ 5, 13–23 (identifying members by their initials “because
many of our members fear retaliation by TDCJ for providing testimony or participating in a lawsuit
against it”).
13
   Final Hearing Tr. (July 30, 2024) at 57:6-12.
14
   Id. at 57:13-16.
15
   ECF 90-1, Ex. M, C. Malouff Decl. (June 4, 2024) ¶ 3.

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provide those who are incarcerated with resources they need in and out of prison.”16 TX C.U.R.E.’s

constituents include all of the approximately 132,600 individuals incarcerated in the TDCJ

system—including     approximately    89,000    individuals   who   are   currently   housed    in

unairconditioned living areas.17 TX C.U.R.E. has constituents in every unit in TDCJ.18 TX

C.U.R.E. advocates for its incarcerated constituents by communicating with them to try to address

specific issues, and by testifying in front of the Texas Legislature on heat-related issues.19 TX

C.U.R.E.’s Board of Directors includes individuals formerly incarcerated in the TDCJ system and

loved ones of those who are currently incarcerated.20

        TX C.U.R.E.’s staff frequently communicates with its incarcerated constituents and their

family members, who are seeking help with addressing inhumane conditions in TDCJ’s prisons.21

These incarcerated constituents’ needs drive the policy goals of the organization, which include

seeking relief from the extreme heat in TDCJ’s unairconditioned units.22 TX C.U.R.E. identified

19 constituents who have written and requested help with excessive heat, a lack of air-conditioned

housing, and other related issues.23 All of these constituents have “suffered from exposure to

excessive heat” and “are directly affected by TDCJ’s lack of temperature control throughout its




16
   ECF 90-1, Ex. M, C. Malouff Decl. ¶ 3.
17
   Final Hearing Tr. (July 30, 2024) at 188:10-23; Pls.’ Hearing Ex. 128; ECF 90-1, Ex. M, C.
Malouff Decl. ¶ 4.
18
   Final Hearing Tr. (July 30, 2024) at 189:4-6.
19
   Id. at 190:3-9.
20
   ECF 90-1, Ex. M, C. Malouff Decl. ¶ 5.
21
   Id. ¶ 6.
22
   Id. ¶ 9.
23
    Id.; see also id. (attachment to C. Malouff Decl. listing 19 examples of TX C.U.R.E.
constituents).

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prisons.”24 TX C.U.R.E. decided to join this lawsuit to serve its constituents by helping address

their continued suffering from the extreme heat in unairconditioned TDCJ facilities.25

       C.      Texas Prisons Community Advocates (“TPCA”)

       TPCA’s mission is to serve incarcerated individuals and their families. TPCA has focused

on issues of extreme heat and a lack of air-conditioning in TDCJ prisons from its inception.26

TPCA’s constituents include every prisoner in the TDCJ population.27 TPCA advocates for its

incarcerated constituents in numerous ways—including working on bills seeking to require

humane temperatures in TDCJ prisons, providing expert testimony about the conditions in TDCJ

units before the Texas Legislature, co-authoring research reports about those conditions,

conducting advocacy training for system-impacted family members, and organizing community

events to raise awareness about the conditions within TDCJ units.28 Most of TPCA’s advocacy

work focuses on the effects of extreme heat, lack of air-conditioning, and inadequate heat

mitigation measures in Texas prisons.29 TPCA’s founder and president, Dr. Amite Dominick, has

also communicated directly with Defendant Bryan Collier on behalf of TPCA about extreme heat

and lack of air-conditioning in Texas prisons.30

       TPCA’s staff frequently communicates with its incarcerated constituents, and it has

approximately 50 volunteer “team members” incarcerated in the TDCJ system whose needs and




24
   ECF 90-1, Ex. M, C. Malouff Decl. ¶ 10.
25
   Final Hearing Tr. (July 30, 2024) at 192:11-193:1, 194:17-23.
26
   Final Hearing Tr. (July 31, 2024) at 341:18-342:2; ECF 90-1, Ex. N, A. Dominick Decl. (June
6, 2024) ¶ 5.
27
   Final Hearing Tr. (July 31, 2024) at 346:6-12.
28
   Final Hearing Tr. (July 31, 2024) at 346:22-347:21; ECF 90-1, Ex. N, A. Dominick Decl. ¶ 6.
29
   Final Hearing Tr. (July 31, 2024) at 347:18-21.
30
   Id. at 341:6-8.

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concerns drive the policy goals of the organization.31 TPCA communicates with its incarcerated

constituents through various means, including by phone, mail, and emails.32 TPCA’s Director of

Incarcerated Individuals, Brittany Robertson, communicates daily with individuals incarcerated in

TDCJ facilities and receives “complaints” from them about heat in Texas prisons every day.33

TPCA joined this lawsuit because of the complaints TPCA received from incarcerated volunteers

and constituents, and the experience of Dr. Dominick’s own ex-husband, who has been

incarcerated in the TDCJ system since 2015.34

       D.      Coalition of Texans with Disabilities (“CTD”)

       CTD is a nonprofit corporation, and its mission is to ensure that persons with disabilities

can work, live, learn, play, and participate fully in the community of their choice.35 CTD’s

constituency consists of all persons with a disability in Texas, including those incarcerated in

Texas prisons.36 Since an estimated 40% of TDCJ inmates have a disability, roughly 52,000 of the

130,000 people incarcerated in Texas prisons are CTD constituents, including every person with a

disability incarcerated in every TDCJ facility that lacks air-conditioning.37 CTD brought this

lawsuit in its representative capacity on behalf of and to vindicate the rights of TDCJ inmates with

disabilities who are being housed in inhumane conditions and directly harmed by extreme heat.38




31
   Final Hearing Tr. (July 31, 2024) at 347:22-348:16 (Dr. Dominick); id. at 363:12-21 (Ms.
Robertson); ECF 90-1, Ex. N, A. Dominick Decl. ¶ 8; Pls.’ Hearing Ex. 147.
32
   Final Hearing Tr. (July 31, 2024) at 347:22-348:1; Pls.’ Hearing Ex. 146.
33
   Final Hearing Tr. (July 31, 2024) at 363:1-364:7.
34
   Id. at 350:6-17.
35
   ECF 50-7, Ex. G, C. Bearden Decl. (Apr. 17, 2024) ¶ 3.
36
   Id. ¶ 5.
37
   Id.
38
   Id. ¶ 7.

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Several courts have held that CTD has associational standing to represent Texans with

disabilities.39

II.     PLAINTIFF BERNHARD TIEDE, II FACES A SUBSTANTIAL RISK OF SERIOUS HARM IF HE
        IS MOVED TO AN UNAIRCONDITIONED CELL.

        Mr. Tiede is a TDCJ inmate who has been directly affected by Mr. Collier’s failure to

protect inmates from extreme heat. He is 65 years old and has multiple medical conditions that

make him especially vulnerable to heat-related illness and death—including diabetes,

hypertension, cardiovascular disease, and chronic obstructive pulmonary disease.40 In April 2024,

Mr. Tiede was diagnosed with an “[a]cute or subacute infarct of the left thalamus”—i.e., a stroke.41

        Despite his age and severe medical conditions that make him particularly vulnerable to

heat, TDCJ housed Mr. Tiede in an unairconditioned cell during the summer of 2023 that regularly

reached temperatures above 100.42 In June 2023, Mr. Tiede had a “transient ischemic attack”—a

small stroke—from heat exposure that resulted in permanent injuries.43 At the time, he was living

in unairconditioned housing, and (as he testified) it was “really, really hot outside.”44 Yet, after

Mr. Tiede returned from receiving treatment in the hospital for the transient ischemic attack, TDCJ



39
   See, e.g., Steward v. Abbott, 189 F. Supp. 3d 620, 631-32 (W.D. Tex. 2016) (Garcia, J.) (CTD
had associational standing to bring suit against State of Texas on behalf of Medicaid beneficiaries
with intellectual disabilities); Richardson v. Tex. Sec’y of State, No. SA-19-cv-000963-OLG, 2019
WL 10945422, *6 (W.D. Tex. Dec. 23, 2019) (Garcia, J.) (CTD had associational standing to bring
claim on behalf of disabled Texas voters); see also Coalition of Texans with Disabilities v. Smith,
No. 03-99-00064-CV, 1999 WL 816734 (Tex. App.—Austin Oct. 14, 1999) (CTD had
associational standing to assert claim on behalf of Texans with mobility impairments prevented
from accessing religious buildings).
40
   ECF 50-4, Ex. D, Cross 3d Decl. ¶ 7; Final Hearing Tr. (July 30, 2024) at 120:14-121:13; Pls.’
Exs. 210, 239.
41
   Pls.’ Hearing Ex. 210 at 1832.
42
   ECF 30-24, Mr. Tiede Decl. ¶¶ 3–6; ECF 50-4, Ex. D, Cross 3d Decl. ¶¶ 5–7, 18.
43
   ECF 30-24, Mr. Tiede Decl. ¶ 9; ECF 50-4, Ex. D, Cross 3d Decl. ¶¶ 7, 12–15; Final Hearing
Tr. (July 30, 2024) at 95:22-96:11, 121:20-22.
44
   Final Hearing Tr. (July 30, 2024) at 103:18-25.

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placed him back in the same unairconditioned cell, presenting “a severe risk to his life and well-

being.”45 Confronted with that risk, Mr. Tiede filed suit against TDCJ, which moved Mr. Tiede to

an airconditioned cell only after this Court entered a temporary restraining order compelling TDCJ

to do so.46

        Plaintiffs’ medical expert in toxicology, emergency room medicine, and heat medicine, Dr.

Susi Vassallo, testified, based on published medical studies, that individuals who are 65 and older,

and those with diabetes, pulmonary disease, or cardiovascular disease are especially vulnerable to

the heat.47 Dr. Vassallo opined that Mr. Tiede is thus particularly vulnerable to heat.48 In her

opinion, placing Mr. Tiede in unairconditioned housing would put him at substantial risk of death

or serious harm.49 Mr. Tiede, likewise, testified that his health improves when he is in air-

conditioning, and that it declines when he is in extreme heat.50

        TDCJ and its officials testified that Mr. Tiede has been appropriately housed at all times

during his custody.51 Despite his various heat-sensitive co-morbidities, TDCJ’s “heath score

algorithm” had not assigned Mr. Tiede a “heat score”—i.e., a score given to inmates, based on

certain criteria, which requires that they be placed in an airconditioned cell. In other words,

according to TDCJ policy, Mr. Tiede’s medical conditions did not and still do not require that he




45
   ECF 30-24, Mr. Tiede Decl. ¶¶ 11–16; ECF 50-4, Ex. D, Cross 3d Decl. ¶¶ 7, 12–15.
46
   ECF 17; ECF 30-24, Mr. Tiede Decl. ¶ 17.
47
   Final Hearing Tr. (July 31, 2024) at 17:25-20:21, 28:5-31:13, 34:7-17; Pls.’ Hearing Exs. 6, 13,
15.
48
   Final Hearing Tr. (July 31, 2024) at 47:16-49:10; Pls.’ Hearing Ex. 13; Pls.’ Hearing Ex. 6.
49
   Final Hearing Tr. (July 31, 2024) at 49:19-24.
50
   Final Hearing Tr. (July 30, 2024) at 128:21-129:1.
51
   Final Hearing Tr. (Aug. 1, 2024) at 200:25-201:14; ECF 155, TDCJ 30(b)(6) Dep. at 195:20-
196:2; 201:5-19.

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be placed in an airconditioned cell.52 TDCJ agrees that Mr. Tiede is at risk of being moved into

unairconditioned housing because he does not have a heat score.53 On the last day of the

preliminary injunction hearing, Mr. Collier refused to commit to keeping Mr. Tiede in an air-

conditioned cell for the duration of his sentence.54 So, without a court order, Mr. Tiede is at risk

of being moved to an unairconditioned cell at any time.55

III.   TEMPERATURES INSIDE TDCJ’S PRISONS ARE DANGEROUSLY HIGH EACH SUMMER.

               The risks of extreme heat are well-established.

       According to the National Weather Service (“NWS”), heat “is one of the leading weather-

related killers in the United States, resulting in hundreds of fatalities each year.”56 The NWS

published a chart that illustrates how exposure to high heat indexes—a function of temperature

and humidity—increases the risk of heat-related illnesses, which TDCJ has adopted into its heat

policy57:




52
   Final Hearing Tr. (Aug. 1, 2024) at 200:25-201:14; ECF 155, TDCJ 30(b)(6) Dep. at 198:16-
24.
53
   ECF 155, TDCJ 30(b)(6) Dep. at 205:7-206:7.
54
   Final Hearing Tr. (Aug. 2, 2024) at 252:24-254:9.
55
   Mr. Tiede also confirmed that he filed grievances on October 10, 2023, October 22 or 23, 2023,
October 31, 2023, and November 15, 2023. (See Final Hearing Tr. (July 30, 2024) at 142:1-13.)
56
     “Heat Safety Tips and Resources,” National Weather Service, available at
https://www.weather.gov/safety/heat. Under Rule 201 of the Federal Rules of Evidence, that Court
may take judicial notice of a fact that is not subject to reasonable dispute because it can be
accurately and readily determined from sources whose accuracy cannot reasonably be questioned.
The Court finds that extreme heat’s status as one of the leading weather-related killers in the United
States is such a fact, and that the National Weather Service is a source whose accuracy cannot
reasonably be questioned.
57
   Final Hearing Tr. (July 31, 2024) at 21:6-23:17; Pls.’ Hearing Ex. 24.

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          The NWS correlates heat index ranges to risk levels for the general population:

             Caution (light yellow; heat index 80–90o): “Fatigue possible with prolonged
              exposure and/or physical activity.”

             Extreme Caution (mustard yellow; heat index 91–104o): “Sunstroke, muscle
              cramps, and/or heat exhaustion possible with prolonged exposure and/or
              physical activity.”

             Danger (orange; heat index 105–125o): “Sunstroke, muscle cramps, and/or heat
              exhaustion likely. Heatstroke possible with prolonged exposure and/or physical
              activity.”

             Extreme Danger (red; heat index >126o): “Heat stroke likely.”

          Expert testimony and scientific studies presented at the hearing confirm that high

temperatures pose a substantial risk of serious harm to anyone. Dr. Vassallo credibly testified that

a heat index of 88o or higher poses a substantial risk of adverse health outcomes in all inmates—

even young, healthy people.58 Those risks include heat exhaustion, heat rash, dehydration, heat

cramps, heat syncope, and heat stroke—the last of which carries a “high mortality rate” and can




58
     Final Hearing Tr. (July 31, 2024) at 23:2-38:23; Pls.’ Hearing Exs. 10, 15, 23, 42, 54, 70.

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have lasting negative health consequences.59 Plaintiffs’ epidemiology expert, Dr. Julie Skarha,

confirmed that heat can cause a number of negative health outcomes beyond heat stroke and heat

exhaustion, including heart attacks, asthma attacks, kidney failure, and an increase in risk of

suicide.60 Dr. Antonella Zanobetti, Plaintiffs’ environmental epidemiology expert, likewise,

opined that increased temperatures increase the risks of hospitalization, illness, and mortality.61

And Mr. Collier’s own expert in internal medicine, Dr. Jane Leonardson, agreed that people who

are exposed to severe environmental heat in the range of 90-105o are at serious risk of illness and

death.62

       Plaintiffs’ expert in forensic psychiatry, Dr. Jhilam Biswas, testified that high heat

exacerbates mental illness; in high heat, people with mental health disorders exhibit higher rates

of suicidality, agitation, impulsivity, and slowing of cognitive processing.63 Heat affects sleep, and

people with mental illness have more trouble controlling their disease if they cannot sleep.64

Extreme heat causes mental health episodes requiring hospitalization.65 And in high heat,

suicidality increases “by a significant amount” among inmates.66

       People with mental illnesses are particularly vulnerable to high heat. Conservative

estimates from the      federal Substance Abuse and Mental Health Services Administration

(SAMHSA) indicate that 37%—i.e., more than one in three—inmates have a diagnosable mental




59
   Final Hearing Tr. (July 31, 2024) at 15:15-17:20, 32:20-37:23; Pls.’ Hearing Exs. 15, 275.
60
   Final Hearing Tr. (July 30, 2024) at 150:23-151:8.
61
   Id. at 75:13-23, 79:1-9; Pls.’ Hearing Exs. 46, 73, 75.
62
   Final Hearing Tr. (Aug. 1, 2024) at 143:12-16.
63
   Final Hearing Tr. (July 31, 2024) at 167:24-170:20, 177:17-179:9 ; Pls.’ Hearing Exs. 11, 35,
76, 103.
64
   Final Hearing Tr. (July 31, 2024) at 177:11-178:7.
65
   Final Hearing Tr. (July 31, 2024) at 180:15-181:15; Pls.’ Hearing Ex. 33.
66
   Final Hearing Tr. (July 31, 2024) at 178:8-14, 182:6-183:19; Pls.’ Hearing Ex. 91.

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illness at any given time.67 When housed in extreme heat, they are “more likely to die or experience

worse morbidity than individuals without mental illness.”68 For example, Dr. Biswas explained

that one study showed that people with schizophrenia had a 200% higher risk of death when

exposed to extreme heat.69 People with substance abuse disorders and individuals taking

psychotropic medications are also particularly vulnerable to high heat.70 Dr. Biswas thus credibly

concluded that “exposure to periods of extreme heat cause[s] a substantial risk of serious harm” to

TDCJ inmates, by increasing the incidence of and exacerbating existing mental health conditions.71

               Texas Prisons Are Hot and Getting Hotter.

       Dr. Linda Mearns, a climatologist and researcher at the National Center for Atmospheric

Research, has opined that “increasing temperatures, increasing extreme temperatures, and more

frequent heat waves” are among the most certain expectations for future climate trends, including

those in Texas.72 “This most likely will result in an increasing heat index, and number of hours per

day with extreme heat index values.”73 In other words, “[t]he trend of summer temperatures

throughout Texas is certainly towards warmer temperatures [and] increasing heat index.”74 In

particular, Texas “is expected to increase in mean annual temperature between 4.5o and 8.5o by the

end of the 21st century.”75




67
   Final Hearing Tr. (July 31, 2024) at 168:10-23.
68
   Id. at 177:1-16; Pls.’ Hearing Ex. 103 at 13.
69
   Final Hearing Tr. (July 31, 2024) at 170:15-20.
70
   Id. at 181:2-15, 187:9-191:18; Pls.’ Hearing Exs 43, 44, 50.
71
   Final Hearing Tr. (July 31, 2024) at 185:13-20.
72
   ECF 50-5, Ex. E, L. Mearns Decl. ¶ 23.
73
   Id. ¶¶ 12-14, 23.
74
   Id. ¶ 18.
75
   Id. ¶ 19.

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       TDCJ did not dispute Dr. Mearns’s opinions, and the Court finds them to be credible. In

addition, TDCJ recognizes that its prisons are hot in the summers. Mr. Collier’s Rule 30(b)(6)

designee, David Sweetin, agrees that temperatures in every prison in Texas are likely to exceed

85o each summer.76 Mr. Collier also believes that summers are hot in Texas, they’ve been hot for

years, they are likely to continue to be hot, and that it is hot inside Texas prisons without air-

conditioning.77 He agrees that it “certainly” makes sense to him that the heat index could reach

113o in Texas in August.78 And, in fact, TDCJ reported to the Texas Legislature that the

temperatures inside of its prisons exceeded 85o on the overwhelming majority of days from May

1, 2023 to September 30, 2023.79 This testimony is also consistent with TDCJ’s own prison

temperature logs, which documented heat indexes outside of its prisons as high as 134o.80




76
   ECF 155, TDCJ 30(b)(6) Dep. at 214:1-4; 222:17-21.
77
   Final Hearing Tr. (Aug. 2, 2024) at 204:24-205:18.
78
   Id. at 217:12-14.
79
   Pls.’ Hearing Ex. 102 at 11-20.
80
   Def.’s Hearing Ex. 76 (highlight added).

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       Testimony from current and former TDCJ inmates further confirmed these high

temperatures. For example, former TDCJ inmate Marci Marie Simmons testified that, in the

summer of 2022, she observed a thermometer in the Dr. Lane Murray Unit, a TDCJ unit for women

in Gatesville, reading 136o.81 Her unit was so hot one day that she and a group of other inmates

were able to cook an egg on the concrete floor.82 During his incarceration in the Byrd Unit, a unit

for men in Huntsville, former TDCJ inmate Charlie Malouff observed a digital temperature

monitor reading 129o one day, 114o on another, and 118o on another.83 And scores of TDCJ inmates

continue to file grievances about the high heat in their unairconditioned units—last summer alone,



81
   Final Hearing Tr. (July 30, 2024) at 30:2-20.
82
   Id. at 28:19-24.
83
   Id. at 179:15-23.

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there were 450 Step One inmate grievances about heat and heat-related issues.84 Based on the

foregoing, the Court finds that the inmate housing areas in Texas’s unairconditioned prisons are

unreasonably dangerous due to the extreme heat during the summer months.

IV.     EXTREME HEAT POSES A SUBSTANTIAL RISK OF SERIOUS HARM TO TDCJ INMATES.

        A.      TDCJ Has Repeatedly Acknowledged the Risk that Extreme Heat Poses to
                TDCJ Inmates.

        Although still a gross underestimation, TDCJ has admitted that at least 23 individuals died

in TDCJ facilities from heat-related causes between 1998 and 2012.85 Mr. Collier admitted he was

aware of ten heat-related deaths in the summer of 2011 alone.86 And TDCJ has identified hundreds

of other inmates diagnosed with heat-related illnesses since 2011.87 Mr. Collier agrees that heat

has caused death or contributed to the death of TDCJ inmates in the past.88 Five years ago, Mr.

Collier testified in Texas federal court that inmates confined in temperatures at or above 95 face

a serious health risk.89

        Mr. Collier’s Rule 30(b)(6) designee also testified in July 2024 that the temperatures TDCJ

inmates are exposed to during the summer months are so high and dangerous that they are at a

very real risk of harm and serious injury, unless adequate measures are taken to protect them.90 He

acknowledged that extreme heat is a dangerous condition in the system that “has killed inmates,

and [has] caused numerous inmates and officers to suffer heat-related illnesses.”91 TDCJ Facilities



84
   Pls.’ Hearing Ex. 102 at 4 (reflecting temperature related grievances from May through August).
85
   Cole v. Collier, No. 4:14-CV-1698, 2017 WL 3049540, at *1, *20 (S.D. Tex. July 19, 2017).
86
   Final Hearing Tr. (Aug. 2, 2024) at 207:22-208:2.
87
   Cole, 2017 WL 3049540, at *20.
88
   Final Hearing Tr. (Aug. 2, 2024) at 207:9-208:2.
89
   ECF 50-11, Ex. K-4, Cole v. Collier, Sept. 10, 2019 Hearing Tr. at 49:22–25.
90
   ECF 155, TDCJ 30(b)(6) Dep. at 229:22-230:4; see also Final Hearing Tr. (July 31, 2024) at
211:12.
91
   ECF 155, TDCJ 30(b)(6) Dep. at 131:12-132:8, 161:22-162:5.

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Director Ron Hudson also agrees that elevated indoor temperatures impact inmates and

correctional staff at unairconditioned facilities.92

        According to TDCJ’s Fiscal Year 2023 report to the Texas Legislature, TDCJ inmates filed

5,202 Step One grievances and 609 Step Two grievances related to the heat in the summer of

2023.93 TDCJ’s Administrative Review and Risk Management Division provides Mr. Collier’s

office a monthly report regarding heat-related grievances filed by TDCJ inmates, and Mr. Collier

is aware of them.94 According to Plaintiffs’ corrections expert Dean Williams, that volume of

grievances further shows extreme heat is a problem that needs to be addressed.95

        B.      Publicly Available, Peer-Reviewed Research Studies Have Warned Mr.
                Collier That Hundreds of TDCJ Inmates Continue to Die from Extreme Heat.

        In 2022, Plaintiffs’ experts Dr. Zanobetti and Dr. Skarha published an epidemiological

study on the association between extreme heat and mortality among inmates in Texas prisons with

and without air-conditioning.96 They found an increased risk of mortality in Texas prisons without

air-conditioning during times of high heat, whereas there was no increase in risk of mortality in

Texas prisons with air-conditioning during that same period.97 As compared to days when the heat

index is 85, the risk of dying in a Texas prison without air-conditioning increased by 5% when

the heat index is 95, 10% when the heat index is 100, and 15% when the heat index is 105.98 In




92
   Final Hearing Tr. (Aug. 2, 2024) at 133:18-23; Def.’s Ex. 21.
93
   Final Hearing Tr. (Aug. 1, 2024) at 270:14-272:25; Pls.’ Hearing Ex. 102 at 4.
94
   Final Hearing Tr. (Aug. 1, 2024) at 269:10-270:13.
95
   Final Hearing Tr. (July 31, 2024) at 235:17-236:11.
96
   Pls.’ Hearing Exs. 70 and 75.
97
   Id.
98
   Final Hearing Tr. (July 30, 2024) at 158:18-160:6; Pls.’ Hearing Ex. 70 at 5.

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other words, a one-degree increase above 85 corresponds to a 0.7% increase in the risk of

mortality. 99




        Dr. Zanobetti and Dr. Skarha concluded there were 271 deaths attributable to extreme heat

in Texas prisons without air-conditioning from 2001 to 2019—an average of 14 deaths per year.100

According to Dr. Vassallo, however, this is likely an underestimate, as it does not account for the

impact of heat on underlying illnesses.101 The same study concluded that not a single heat-related

death occurred in TDCJ’s climate-controlled prisons during this period.102 Based on their research,




99
   Pls.’ Hearing Ex. 70 at 5 (explaining that the figure “shows the association between same-day
daily maximum heat index above 85 °F and the percentage change in the risk of daily all-cause
mortality by AC status”).
100
    Final Hearing Tr. (July 30, 2024) at 90:22-91:4 (Dr. Zanobetti); id. at 160:7-15 (Dr. Skarha);
Pls.’ Hearing Ex. 70.
101
    Final Hearing Tr. (July 31, 2024) at 38:3-24.
102
    Pls.’ Hearing Ex. 70.

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Dr. Zanobetti and Dr. Skarha expect more TDCJ inmates to die from extreme heat in

unairconditioned cells each summer.103

        C.     TDCJ Admits that Multiple TDCJ Inmates Died from Extreme Heat in
               Summer 2023.

        After publicly denying that any inmate had died from the extreme heat in Texas prisons

since 2011, TDCJ now concedes that there were three heat-related custodial deaths in the summer

of 2023.104 Mr. Collier admitted “there were three inmate deaths where elevated temperatures were

cited in the final autopsies as a possible contributing factor”105 and reported the following three

deaths to the Texas Legislature.106 Mr. Collier also acknowledged that he is briefed on any autopsy

that identifies heat as a contributing factor, and that he would “probably” read the autopsy report,

as well.107

               1.      Elizabeth Hagerty – June 28, 2023

        Elizabeth Hagerty was a 37-year-old female housed in an unairconditioned cell in the Dr.

Lane Murray Unit.108 At 12:10 a.m. on June 30, 2023, after Ms. Hagerty failed to respond to an

officer conducting the unit count,109 the officer found Ms. Hagerty unresponsive in her cell.110 Less

than forty minutes later, she was pronounced dead.111, At the time she died, the temperature in her

cell was 95.7.112 No core body temperature was documented.




103
    Final Hearing Tr. (July 30, 2024) at 84:21-85:2 (Dr. Zanobetti); id. at 163:3-7 (Dr. Skarha).
104
    Pls.’ Hearing Ex. 102 at 5.
105
    Pls.’ Hearing Ex. 254, Mr. Collier’s Resp. to Interr. No. 1.
106
    Pls.’ Hearing Ex. 102 at 5.
107
    Final Hearing Tr. (Aug. 2, 2024) at 211:17-212:2.
108
    Pls.’ Hearing Ex. 169-A at 2.
109
    Id.
110
    Id.
111
    Id. at 6.
112
    Id. at 11.

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       Ms. Hagerty had a medical history of obesity, hypercholesterolemia, diabetes, asthma,

substance abuse, and unspecified mood disorder.113 At the time of her death, Ms. Hagerty’s

medications included (1) albuterol (a bronchodilator for asthma), (2) atorvastatin (to treat elevated

cholesterol), (3) citalopram (a selective serotonin reuptake inhibitor to treat anxiety and

depression), and (4) carbamazepine (to treat bipolar disorder).114 A week before she died, Ms.

Hagerty submitted a sick-call complaining about the heat and a heat rash on her entire body.115

Four days later, she was seen again by medical staff and complained of two days of abdominal

cramps and more than 20 episodes of vomiting.116 Medical staff advised Ms. Hagerty to drink

water.117

       A University of Texas Medical Branch (“UTMB”) pathologist performed an autopsy on

Ms. Hagerty’s body five days after her death.118 Other than a heat rash, the autopsy revealed no

significant anatomical findings, but noted hyponatremia (low sodium).119 The pathologist

determined that this was the result of dehydration from her recent gastrointestinal illness, which

was likely due to COVID-19.120 According to the autopsy report, hyponatremia caused Ms.

Hagerty’s death, although elevated environmental temperatures were noted to be a potential

contributory factor.121 Mr. Collier admitted that he knew in 2023 that Ms. Hagerty died after




113
    Pls.’ Hearing Ex. 169-A at 29.
114
    Id. at 27.
115
    Pls.’ Hearing Ex. 169 at 6.
116
    Id.
117
    Pls.’ Hearing Ex. 169 at 6; Pls.’ Hearing Ex. 169-A at 24.
118
    Pls.’ Hearing Ex. 169 at 4.
119
    Id. at 11.
120
    Id.
121
    Id. at 12.

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complaining of heat rash, and that UTMB doctors had concluded that heat may have been a

contributing factor in her death.122

       Plaintiffs’ experts Dr. Vassallo and Dr. Uribe gave unrebutted testimony that Ms. Hagerty’s

death was heat-related.123 Specifically, Dr. Vassallo opined that the heat exacerbated Ms.

Hagerty’s obesity, diabetes, asthma, and COVID-19.124 Dr. Vassallo and Dr. Uribe credibly

testified that Ms. Hagerty would not have died if she had been in an air-conditioned cell.125

               2.      John Castillo – August 6, 2023

       John Castillo was a 33-year-old male housed in an unairconditioned cell in the Alfred D.

Hughes Unit, a TDCJ prison for men in Gatesville.126 At 10:42 p.m. on August 6, 2023, Mr.

Castillo’s roommate notified a corrections officer that Mr. Castillo was sitting on the floor leaning

against the bottom bunk with his head tilted backward.127 He was unresponsive but still

breathing.128 The officer entered the cell and attempted to communicate with Mr. Castillo, but he

remained unresponsive.129 The officer noted that Mr. Castillo’s breathing was shallow, and that

his body temperature appeared elevated.130 He was taken to the medical unit, where a nurse




122
    Final Hearing Tr. (Aug. 2, 2024) at 216:5-9.
123
    Final Hearing Tr. (July 31, 2024) at 61:3-5 (Dr. Vassallo); id. at 302:11-13, 303:1-13 (Dr.
Uribe).
124
    Id. at 61:6-8.
125
    Id. at 61:9-12 (Dr. Vassallo); id. at 303:6-9, 309:7-12 (Dr. Uribe).
126
    Pls.’ Hearing Ex. 161-B at 2.
127
    Id. at 2-3.
128
    Id.
129
    Id. at 2.
130
    Id. at 2-3.

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reported he was “hot to the touch.”131 His core body temperature was 107.5.132 He was

pronounced dead at 11:33 p.m.133

       The ambient temperature inside the Hughes Unit was 94.4 on the day Mr. Castillo died.134

Fans were on in his unit, and he had access to water.135 In fact, he was seen on TDCJ surveillance

footage going to the water cooler 23 times in the 24 hours before his death.136 He had a medical

history of epilepsy and depression.137 At the time of his death, his medications included (1)

oxybutynin (to treat bladder control disorders), (2) phenytoin (an antiseizure medication), and (3)

sertraline (an SSRI).138 According to TDCJ’s Administrative Incident Review, Mr. Castillo was

last seen by medical staff on June 23, 2023, for treatment of depression.139 The provider did not

document any recent seizure activity or complaints of seizures.140

       A UTMB pathologist performed an autopsy on Mr. Castillo’s body six days after his

death.141 She could not identify an anatomic cause of death.142 Bleeding in his tongue, aspiration

pneumonitis, and the absence of antiseizure medications in post-mortem toxicology tests suggested

that Mr. Castillo had a seizure around the time of his death.143 Based on these findings, the

pathologist opined that Mr. Castillo’s cause of death was seizure disorder, “with high



131
    Pls.’ Hearing Ex. 161-B at 27.
132
    Id. at 64; Pls.’ Hearing Ex. 161 at 12.
133
    Pls.’ Hearing Ex. 161-B at 3.
134
    Pls.’ Hearing Ex. 102 at 17.
135
    Pls.’ Hearing Ex. 161 at 12.
136
    Id.
137
    Id.
138
    Id.
139
    Pls.’ Hearing Ex. 161-B at 35.
140
    Id.
141
    Pls.’ Hearing Ex. 161 at 4.
142
    Id. at 12.
143
    Id.

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environmental temperature as an important contributory factor.”144 The pathologist’s report also

stated that, while seizures can result in hyperthermia, “it is well-established that hyperthermia can

also induce seizures in susceptible individuals.”145 And she concluded that “[t]he degree of

hyperthermia seen in this patient is much greater than would be expected in the setting of seizures

alone.”146 Mr. Collier admitted to having read the report from the autopsy of Mr. Castillo, and to

knowing in 2023 that UTMB doctors had concluded that heat was an important contributory factor

in Mr. Castillo’s death.147

       Dr. Vassallo and Dr. Uribe agreed that Mr. Castillo’s death was heat-related.148And they

credibly testified that Mr. Castillo would not have died if he had been in an air-conditioned cell.149

               3.      Patrick Womack – August 21, 2023

       Patrick Womack was a 50-year-old male housed in restrictive housing in the

unairconditioned H.H. Coffield Unit, a men’s prison in Anderson County.150 On the night of

August 20, 2023, Mr. Womack asked a correctional officer for a cooldown shower, but the officer

said there were not enough staff and refused to give him one.151 Video surveillance on August 21,

2023, shows Mr. Womack passing water bottles under his cell door at 9:19 a.m., but he did not

respond to a correctional officer’s count at 10:07 a.m.152 At 11:34 a.m., the commissary manager




144
    Pls.’ Hearing Ex. 161 at 12.
145
    Id.
146
    Id.
147
    Final Hearing Tr. (Aug. 2, 2024) at 213:11-23, 214:15-215:6.
148
    Final Hearing Tr. (July 31, 2024) at 51:19-52:2 (Dr. Vassallo); id. at 316:18-21 (Dr. Uribe).
149
    Id. at 56:12-15 (Dr. Vassallo); id. at 288:11-15, 309:7-12 (Dr. Uribe).
150
    Pls.’ Hearing Ex. 200 at 6; Pls.’ Hearing Ex. 200-B at 1.
151
    Pls.’ Hearing Ex. 200-B at 3, 8, 42.
152
    Id. at 3.

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tried to talk to Mr. Womack, but he did not respond.153 The manager said that he appeared to be

asleep on his stomach.154 At 1:33 p.m., officers reported that Mr. Womack was face-down in his

bunk and unresponsive.155 At 1:44 p.m., officers noted that he remained unresponsive, and his core

body temperature was 106.9.156 He was pronounced dead 9 minutes later.157 When corrections

officers discovered Mr. Womack, the ambient outdoor temperature was 104, and the heat index

was 113.158 TDCJ reported to the Texas Legislature that the indoor temperature at the Coffield

Unit was 99.1 at 3:00 p.m. on August 20 and 96.6 at 3:00 p.m. on August 21.159

       Mr. Womack had an extensive history of mental illness including antisocial behavior,

impulse control disorder, and major depressive disorder with suicidal ideation.160 He had numerous

suicide attempts, had over 70 encounters with Crisis Management, and was on TDCJ’s mental

health caseload.161 Mr. Womack’s medications included (1) benztropine (an anticholinergic);

(2) haloperidol (an antipsychotic); and (3) sertraline (an SSRI).162

       A UTMB pathologist performed an autopsy on Mr. Womack’s body ten days after his

death.163 The body showed evidence of advanced decomposition.164 Post-mortem toxicology

showed that Mr. Womack had potentially toxic serum sertraline levels of 2500 ng/ml, which can




153
    Pls.’ Hearing Ex. 200-B at 3.
154
    Id.
155
    Id. at 2.
156
    Pls.’ Hearing Ex. 200 at 6.
157
    Id.
158
    Id.
159
    Pls.’ Hearing Ex. 102 at 17.
160
    Pls.’ Hearing Ex. 200 at 6.
161
    Id.
162
    Id.
163
    Id. at 4.
164
    Id. at 6.

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cause hyperthermia.165 The UTMB pathologist stated, “Classic heat stroke caused by elevated

environmental temperatures can also occur in combination with drug-induced hyperthermia.”166

She then opined that Mr. Womack’s cause of death was hyperthermia due to sertraline toxicity

with environmental heat as a contributory factor.167

       Dr. Vassallo and Dr. Uribe offered unrebutted testimony, however, that Mr. Womack’s

death was heat-related,168 and Dr. Vassallo credibly testified that he died of a heat stroke.169 Dr.

Vassallo and Dr. Uribe also opined that sertraline toxicity absent environmental heat stress would

not have caused a core body temperature of 106.9.170 Dr. Vassallo and Dr. Uribe testified that Mr.

Womack would not have died if he had been in an air-conditioned cell.171

       D.      At Least Two More TDCJ Inmates Died from the Heat in Summer 2023.

       Dr. Vassallo and Dr. Uribe also credibly testified that at least two other TDCJ inmates died

from heat-related causes in Summer 2023:

               1.      John Southards – June 28, 2023

       John Southards was a 36-year-old male housed in restrictive housing in an

unairconditioned cell in the Estelle Unit in Huntsville.172 During security rounds on June 28, 2023,




165
    Pls.’ Hearing Ex. 200 at 11.
166
    Id.
167
    Id.
168
    Final Hearing Tr. (July 31, 2024) at 69: 16-25 (Dr. Vassallo); id. at 304:11-13, 305:18-21 (Dr.
Uribe).
169
    Id. at 69:16-25.
170
    Id. at 304:16-305:14 (Dr. Uribe testifying that sertraline cannot increase the body temperature
to 106.9 degrees); see id. at 67:8-69:15 (Dr. Vassallo explaining that a sertraline level of 2500
ng/ml would not necessarily have caused death and not have caused core body temperature to
increase to 106.9).
171
    Id. at 70:4-7 (Dr. Vassallo); id. at 305:15-17, 309:7-12, 332:2-5 (Dr. Uribe).
172
    Pls.’ Hearing Ex. 192-B at 2.

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an officer found him laying down in his cell and having trouble breathing.173 The officer called for

assistance at 11:06 p.m.174 Mr. Southards was moved to the infirmary, where resuscitation efforts

continued. At the time, staff described him as diaphoretic (sweating heavily) and hot to the

touch.175 He was pronounced dead at 11:58 p.m.176 The UTMB pathologist who performed the

autopsy on Mr. Southards asked TDCJ for his core body temperature near the time of his death,

but none was recorded.177 The ambient temperature in his cell was 85.7 with a heat index of 96.2

at 3:00 a.m.178

       Mr. Southards had a significant psychiatric history, including depression, anxiety,

psychosis, and suicidal ideation with multiple suicide attempts.179 His medical history was only

significant for intermittent asthma and gastroesophageal reflux. His medications included

(1) haloperidol (an antipsychotic), (2) oxybutynin (for bladder dysfunction), (3) venlafaxine (an

SSRI), and (4) Benadryl (an antihistamine and anticholinergic).180

       A UTMB pathologist performed an autopsy on Mr. Southards’s body six days after his

death.181 The findings included heat rash on his upper extremities.182 Although additional

anatomical findings were described, none were considered a contributing factor in Mr. Southards’s

death.183 The pathologist concluded that diphenhydramine toxicity caused Mr. Southards’s death,



173
    Pls.’ Hearing Ex. 192-B at 2.
174
    Id.
175
    Pls.’ Hearing Ex. 192-A at 83.
176
    Id.
177
    Id. at 19, 83, 88.
178
    Id. at 88.
179
    Id.
180
    Id. at 68, 83.
181
    Id. at 81.
182
    Id. at 88.
183
    Id.

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but stated “there is insufficient evidence to support heat-related stress as a contributory cause of

death, given the lack of core body temperature data. However, the possibility cannot be

excluded.”184 She also noted that there was “no documented information to suggest suicidal

intent.”185 On December 8, 2023, TDCJ investigators determined that Mr. Southards had

committed suicide and closed their investigation.186

       Dr. Vassallo and Dr. Uribe opined that heat stroke caused Mr. Southards’s death.187 Both

medical experts testified that Mr. Southards could not have died from diphenhydramine toxicity

(i.e., a Benadryl overdose), because he was sweating when he was found, and Benadryl inhibits

sweating.188 They further concluded that the amount of Benadryl in Mr. Southards’ system was

not lethal.189 Last, Dr. Vassallo and Dr. Uribe both credibly testified that Mr. Southards would not

have died if he had been in an air-conditioned cell.190

               2.      Armando Gonzales – August 23, 2023

       Armando Gonzales was a 42-year-old transgender female housed in the Alfred D. Hughes

Unit, a prison in Gatesville.191 At 10:00 p.m. on August 21, 2023, Ms. Gonzales was found

unresponsive but breathing in her cell. After the incident command system was activated, medical

staff found Ms. Gonzales lying on her left side, in a pool of vomit.192 The autopsy noted that the

“air-conditioning was out in the unit,” and that the ambient temperature in Ms. Gonzales’s cell at




184
    Pls.’ Hearing Ex. 192-A at 88.
185
    Id.
186
    Id. at 41.
187
    Final Hearing Tr. (July 31, 2024) at 61:18-64:22 (Dr. Vassallo); id. at 296:19-21 (Dr. Uribe).
188
    Id. at 63:15-22 (Dr. Vassallo); id. at 297:1-13 (Dr. Uribe).
189
    Id. at 64:3-19 (Dr. Vassallo); id. at 297:15-17 (Dr. Uribe).
190
    Id. at 64:23-65:1 (Dr. Vassallo); id. at 297:23-298:2, 309:7-12 (Dr. Uribe).
191
    Pls.’ Hearing Ex. 168-A at 2.
192
    Id. at 8.

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the time she was found was between 97 and 100.193 She was taken to the onsite emergency room,

where her rectal temperature was documented as 109.4 on repeated measurements.194 Ms.

Gonzales was transferred by ambulance to a hospital where she was hyperthermic and in shock.

Despite multiple attempts over a 48-hour period, medical providers could not resuscitate her, and

she was pronounced dead at 5:32 a.m. on August 23, 2023.195

        Ms. Gonzales had been diagnosed with Hepatitis C and manic depressive disorder with

psychosis; she also had a history of substance abuse.196 She had cirrhosis of the liver,197 and her

medications included: (1) aripiprazole (to treat bipolar disorder); (2) citalopram (an SSRI);

(3) spironolactone (a diuretic to treat fluid retention); (4) estradiol (a hormone); and (5) bupropion

(to treat depression).198

        A UTMB pathologist performed an autopsy on Ms. Gonzales’s body thirteen days after she

died.199 The anatomic examination revealed lung hemorrhage and pneumonia, reflecting Ms.

Gonzales’s clinical illness.200 Post-mortem toxicology was positive for midazolam, a sedative

hypnotic drug; and fentanyl, an opioid analgesic.201 The pathologist noted, however, that “the

levels of drug may be altered by the long post mortem interval and severe degree of autolysis of

tissues seen in this patient.”202 He nevertheless opined that Ms. Gonzales’s death was caused by




193
    Pls.’ Hearing Ex. 168 at 6, 11.
194
    Id. at 6.
195
    Id.
196
    Id. at 5-6.
197
    Id.
198
    Id. at 6.
199
    Id. at 4.
200
    Id.
201
    Pls.’ Hearing Ex. 168 at 11.
202
    Id.

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multidrug toxicity with opioid overdose and drug-related hyperthermia.203 Mr. Collier received

this autopsy report, as well.204

       Dr. Vassallo disagreed with the pathologist’s analysis.205 She explained that multiple

medications (including opioids) are used in the intensive care unit to sedate patients who have

suffered medical incidents like heat stroke, which could explain the toxicology results.206 Most

importantly, it is “unquestionable” that opioids like fentanyl do not cause hyperthermia.207 Instead,

they cause hypothermia—i.e., decreased body temperature.208 Thus, in Dr. Vassallo’s credible

expert opinion, fentanyl could not have caused Ms. Gonzales’s hyperthermia, and severe

environmental heat stroke caused her death.209 Dr. Uribe agreed that Ms. Gonazles’s death was

heat-related.210 Dr. Vassallo and Dr. Uribe both credibly testified that Ms. Gonzales would not

have died if she had been in an air-conditioned cell.211

       Plaintiffs’ corrections expert Mr. Williams testified that core body temperatures of 106 or

107 would be “cause for alarm across the [state government], . . . not just in the corrections

system.”212 If he saw even “one death where [he] knew the core body temperature was in the range

of 106 degrees, 107 degrees, . . . [he] would pull the fire alarm for [the] department.”213 As set

forth in more detail below, Mr. Collier did not do so.



203
    Pls.’ Hearing Ex. 168 at 11.
204
    Id. at 15.
205
    Final Hearing Tr. (July 31, 2024) at 54:15-56:5.
206
    Id.
207
    Id. at 54:22-55:13.
208
    Id. at 54:22-55:3, 55:21-24.
209
    Id. at 56:3-5.
210
    Id. at 291:10-292:6.
211
    Id. at 56:6-11 (Dr. Vassallo); id. at 292:7-9, 309:7-12 (Dr. Uribe).
212
    Id. at 234:1-5.
213
    Final Hearing Tr. (July 31, 2024) at 233:10-18.

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       E.      Evidence of Two Other Inmate Deaths under Questionable Circumstances was
               Also Presented During the Preliminary Injunction Hearing.

       Two other inmate deaths were discussed during the hearing—both of which occurred under

suspicious circumstances and were possibly heat-related.

               1.      Corey Smith – July 28, 2022

       Corey Smith was a 50-year-old transgender female housed in cell 4-E-2 in the Alfred D.

Hughes Unit.214 During a count on July 28, 2022, at approximately 2:00 a.m., a correctional officer

found Ms. Smith prostrate on the floor of her cell and in acute medical distress.215 At that time, her

core body temperature was measured at 107.6.216 Ms. Smith was pronounced dead less than an

hour later.217 Ms. Smith’s medical history included high cholesterol, asthma, substance abuse, and

gender dysphoria disorder.218 Her medications included (1) Benadryl; (2) estradiol (a hormone);

and (3) spironolactone (to treat high blood pressure and heart failure).219

       A UTMB pathologist performed an autopsy on Ms. Smith’s body eight days after her

death.220 The autopsy report states that the cause of death was hyperthermia and attributed the

hyperthermia to sertraline toxicity and serotonin syndrome.221 Ms. Smith’s post-mortem sertraline

level was elevated at 1200 ng/ml.222 While elevated levels of sertraline can increase core body




214
    Pls.’ Hearing Ex. 277 at 2.
215
    Id.
216
    Id. at 123.
217
    Id.; Pls.’ Hearing Ex. 277 at 2.
218
    Pls.’ Hearing Ex. 277-A at 123.
219
    Id. at 24.
220
    Id. at 126.
221
    Id. at 123, 126, 133-34.
222
    Pls.’ Hearing Ex. 277-A at 133.

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temperature, Dr. Vassallo and Dr. Uribe both testified that a post mortem sertraline level of over

twice Ms. Smith’s level alone would not have caused a core body temperature to rise to 106.223

       In attempting to impeach Dr. Uribe’s testimony regarding sertraline’s role in Mr.

Womack’s death, see supra at Section IV(D)(iii), Mr. Collier’s counsel referenced Ms. Smith’s

death.224 Mr. Collier’s counsel asserted that Ms. Smith died from sertraline-induced hyperthermia

while housed in an air-conditioned cell.225 Mr. Collier’s counsel, however, was mistaken.226 Mr.

Collier’s own witness, Timothy Fitzpatrick, testified that, in fact, Hughes 4-E-2 is not air-

conditioned.227 And, according to the temperature logs that TDCJ provided to the Texas

Legislature, the indoor temperature at the Hughes unit was 93.6 on the day Ms. Smith died in her

unairconditioned cell.228

               2.      Jason Wilson – July 5, 2024

       In the weeks before his death, TDCJ inmate Jason Wilson sent TPCA Director Brittany

Robertson several emails indicating that there were not enough corrections staff to pass out water,

and that the temperatures in his unit were extremely high.229 Mr. Wilson had been a TPCA team




223
     Final Hearing Tr. (July 31, 2024) at 304:16-305:14, 331:10-16 (Dr. Uribe testifying that
sertraline cannot increase the body temperature to 106.9 when he discussed Mr. Womack’s
death); see id. at 67:1-69:15 (Dr. Vassallo explaining that a sertraline level of 2500 ng/ml would
not necessarily have caused death and would not have caused a core body temperature to increase
to 106.9 when she discussed Mr. Womack’s death).
224
    Final Hearing Tr. (July 31, 2024) at 331:17-334:5.
225
    Id.
226
    Final Hearing Tr. (Aug. 1, 2024) at 218:14-16 (“[Mr. James] Do you know if the Hughes
assignment 4-E-2 is air conditioned or not? [Mr. Fitzpatrick] It is not.”).
227
    Id.
228
    Def.’s Hearing Ex. 70 at 2 (noting that the temperatures are taken indoors), 27 (noting the
temperature).
229
    Final Hearing Tr. (July 31, 2024) at 366:14-370:11, 374:3-375:1; Pls.’ Hearing Exs. 137, 264,
152.

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member for a year before he died.230 When Ms. Robertson called Mr. Wilson’s unit to check on

him on July 7, a TDCJ employee told her that he was doing okay, even though he had, in fact, died

two days earlier.231 During the hearing, Mr. Collier agreed that TDCJ handled Mr. Wilson’s

wellness check in an unprofessional manner, and he said he was investigating it.232 He also agreed

that Mr. Wilson’s messages to Ms. Robertson about not having access to cold water are very

concerning.233 After Mr. Wilson’s death, another inmate wrote to Ms. Robertson that “no officer

came and checked on the pod that we were house[d] all night on July 4 til the next morning when

they found Jason dead.” 234

       F.      Heat-Related Deaths Are Being Undercounted and Underreported Because of
               TDCJ’s Practices.

       Based on the available evidence, there is no dispute that high heat has caused or contributed

to the deaths of numerous TDCJ inmates in unairconditioned units, including last summer. In

addition, three TDCJ practices have likely led to heat-related deaths of TDCJ inmates being

undercounted and unreported.

       First, TDCJ does not consistently take the core body temperatures of deceased inmates

found in high ambient temperatures, and it has no policy requiring temperatures be taken in those

circumstances.235 According to the medical literature, “[a] rectal temperature should be obtained

in all patients suspected of heat stroke.”236 According to Dr. Vassallo, a core body temperature is




230
    Final Hearing Tr. (July 31, 2024) at 365:3-12.
231
    Id. at 372:10-16, 374:3-5; Pls.’ Exs. 137, 264, 152.
232
    Final Hearing Tr. (Aug. 2, 2024) at 238:10-239:8.
233
    Id. at 241:19-242:2.
234
    Pls.’ Hearing Ex. 264 at 8.
235
    ECF 155, TDCJ 30(b)(6) Dep. at 245:17-246:4.
236
    Pls.’ Hearing Ex. 275 at 5 (emphasis added).

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“absolutely fundamental” to determining whether a death is heat-related,237 and failing to take a

core body temperature violates the standard of care.238 In fact, taking a temperature is so

“fundamental to being a doctor” that the entire point of one oral board examination question is for

the examinee to recognize that the temperature is missing from the data presented.239

       Dr. Uribe agreed that taking a core body temperature is “essential,” because it is a “quick

way to establish one or more things that are possibly going wrong” with the body—especially in

a “particularly hot or cold environment.”240 He testified that the “documentation of the core body

temperature is critically important from a post mortem perspective.”241 “[T]he core body

temperature [triggers] the diagnosis of hyperthermia,” and the pathologist then has to figure out

“why does this person have such an elevated temperature”—for instance, was it “because they

were exposed to heat for a prolonged period of time,” or “were they . . . on certain drugs or

medications?”242 Dr. Uribe opined that routinely failing to take core body temperatures could lead

to heat being underreported as a contributing cause of inmate deaths.243

       Correctional leaders understand the importance of taking core body temperatures. Mr.

Williams confirmed that a proper death investigation should include measuring ambient

temperature of the cell or the living area where the individual died, the heat index, and the

individual’s core body temperature.244 A high core body temperature is “not just a clue,” but




237
    Final Hearing Tr. (July 31, 2024) at 52:8-10.
238
    Id. at 57:21-58:6.
239
    Id.
240
    Id. at 298:23-299:23.
241
    Id. at 299:24-300:18.
242
    Id. at 300:3-13.
243
    Id. at 300:19-24.
244
    Final Hearing Tr. (July 31, 2024) at 246:7-23, 251:20-24.

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“strong evidence that people are dying of heat stroke.”245 Indeed, Mr. Williams could only think

of one reason not to take an individual’s core body temperature: to avoid legal liability.246

        Second, TDCJ only considers a death “heat-related” if the autopsy report lists hyperthermia

as the sole cause of death.247 In other words, heat must be the “sole causal factor” of the inmate’s

death for TDCJ to consider it “heat-related.”248 But, according to Dr. Vassallo, there is no medical

distinction between identifying heat as a “contributing factor” or a “heat-related death.”249 Dr.

Vassallo testified that, “if a death is found to have heat as a contributing cause, [she] as a medical

professional [would] consider that to be a heat-related death.”250 Dr. Vassallo concluded that, if

you “only considered deaths in which heat was found to be the sole cause and did not consider

[deaths] where heat was found to be a contributing factor,” you would undercount heat-related

deaths.251 Dr. Uribe agreed that heat-related deaths would be undercounted, if TDCJ took the

position that a death is not heat-related unless heat is the sole, direct cause of death.252

        Third, Dr. Uribe also testified that the standard of care for pathologists requires that an

autopsy be performed within 48 hours of an individual’s death.253 The autopsies for the deaths

listed here were all performed outside of this window: (i) Elizabeth Hagerty (5 days); (ii) John

Castillo (6 days); (iii) Patrick Womack (10 days); (iv) John Southards (6 days); (v) Armando




245
    Id. at 251:2-19.
246
    Id. at 248:25-250:21.
247
    ECF 155, TDCJ 30(b)(6) Dep. at 244:25-245:12.
248
    Id.
249
    Final Hearing Tr. (July 31, 2024) at 71:21-72:19.
250
    Id. at 72:2-5.
251
    Id. at 72:6-16.
252
    Id. at 308:25-309:6.
253
    Id. at 292:14-293:1.

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Gonzales (13 days); and (vi) Corey Smith (8 days).254 Dr. Uribe explained that the timeliness of

an autopsy is important because decomposition (autolysis) affects the accuracy of the results,

particularly toxicology and laboratory values.255 Dr. Uribe further opined that a systemic pattern

of delayed autopsies would likely result in TDCJ underreporting heat as a cause of death.256

       G.      TDCJ is Likely Undercounting Inmates’ Heat-Related Injuries.

       In addition to heat-related deaths, Mr. Collier knows that TDCJ inmates also continue to

develop heat-related injuries. In his interrogatory responses, Mr. Collier identified more than a

dozen inmates diagnosed with heat exhaustion, heat stroke, or hyperthermia between May 5, 2023,

and September 17, 2023.257 Mr. Collier, likewise, reported to the Texas Legislature that 17 TDCJ

inmates developed heat-related illnesses in 2023 alone258:




       This number is almost certainly an undercount, since at least one report from UTMB

identified 35 TDCJ inmates with heat-related illnesses in a single month (June 2023).259 Mr.

Collier acknowledged that he was aware of UTMB’s June 2023 heat-related illness report, but

claimed (without further explanation) that the data UTMB reported to TDCJ contained “significant

inaccuracies.”260




254
    See Sections IV.C.-IV.E., supra.
255
    Final Hearing Tr. (July 31, 2024) at 294:5-295:9.
256
    Id. at 295:10-19.
257
    Pls.’ Hearing Ex. 206, Mr. Collier’s Response to Plaintiffs’ Interr. 8.
258
    Pls.’ Hearing Ex. 102.
259
    Pls.’ Hearing Exs. 84 & 85.
260
    Final Hearing Tr. (Aug. 2, 2024) at 225:10-228:3.

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       Former TDCJ inmates’ firsthand accounts further illustrate the catastrophic consequences

of extreme heat. For example, Ms. Simmons testified that the summer heat affected her physical

and mental health during her ten-year incarceration in unairconditioned units from 2012 to 2022.

She lost her appetite, could not sleep, and became weaker and more lethargic because of the heat.261

She saw several other inmates become lethargic, pass out, and suffer heat-induced seizures.262 She

also saw “lots of women that [she] was housed with” require medical attention and be taken away

in ambulances “very frequently” during the summer.263

       According to Ms. Simmons, she and her fellow inmates tried to reduce the effects of the

heat by dousing themselves in water from the toilets in their cells.264 Ms. Simmons did this “[m]ore

times than [she could] count.”265 Other women in Ms. Simmons’s unit would even “inflict harm”

on themselves and “make it look like a suicide attempt” to “get into the air conditioned crisis

management center” and “get a break from the heat.”266

       Mr. Malouff was also housed in unairconditioned TDCJ units over multiple summers. He

testified that the heat was “horrible”—you felt “dehydrated,” and it “literally sucks the oxygen

right out of you.”267 He witnessed two inmates go from “sweating profusely” to “no sweat” to

“discoloration” to “kind of [] queasiness” and then pass out before finally receiving medical

attention.268 To Mr. Malouff, it looked like “they were having a heat stroke.”269 Mr. Malouff also



261
    Final Hearing Tr. (July 30, 2024) at 28:25-29:6
262
    Id. at 33:14-34:9.
263
    Id. at 34:10-17.
264
    Id. at 31:3-24, 35:15-36:8.
265
    Id. at 31:17-24.
266
    Id. at 35:17-36:8.
267
    Id. at 179:24-180:2.
268
    Id. at 181:23-182:9.
269
    Id. at 182:7-8.

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said that inmates in administrative segregation would “fairly regularly” start fires in their unit, so

that the corrections officers would respond by flooding the unit and the inmates could lay down

on the ground in the pools of water.270

       H.      TDCJ Staff Continue to Suffer Heat-Related Injuries.

       The substantial risk of serious harm the extreme heat poses to TDCJ inmates is also

demonstrated by the effects extreme heat has on TDCJ staff. TDCJ’s own training documents

confirm that heat-related illness is the fifth-leading cause of serious injuries among TDCJ

employees.271 One document specifically recognizes that “[n]o one is immune from suffering a

heat-related illness, from the fittest employee to those who may be prone to medical conditions.”272

It warns that “[i]ncreased body temperatures, if left uncontrolled, may lead to delirium,

convulsions, seizures, and possibly even death.”273 And it suggests treating the person by moving

them “out of direct sunlight [and] into an air conditioned environment, if possible.”274

       In 2022 and 2023, TDCJ staff filed nearly 80 workers’ compensation claims related to the

heat.275 These are some of the employee statements276:

           “Overheated, got dizzy, fell down and could not move or respond.”

           “I was sitting in my office and started to feel unwell and overheated. I felt liek
            [sic] I could not breath [sic].”

           “I was counting the wings at Beto when I became over heated. Reported to Capt.
            Kimberly Henslee. She then sent me to the chapel where I began to throw up,
            then Capt. Henslee sent me home.”



270
    Final Hearing Tr. (July 30, 2024) at 180:3-19, 182:24-183:2.
271
    Def.’s Hearing Ex. 13D at 15
272
    Id.
273
    Id.
274
    Id.
275
    Pls.’ Hearing Ex. 207, Mr. Collier’s Resp. to Interr. No. 10.
276
    Id.

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          “Driving home from work (Torres Unit/Food Service) after being exposed to
           excessive heat in the food service dept. Had a stroke on the way home.”

          “Heat from unit really got to me, extremely overheated causing me to get sick,
           really dizzy, headache, messing wiht [sic] my diabetes.”

          “While performing officer duty at the O.M. gate, too much heat.”

          “Heat exhaustion, dehydration.”

          “Heat exhaustion.”

          “It happened because of the heat and I was dehydrated.”

          “In C Row top felt light headed, requested water, after drinking three bottles I
           got dizzy and felt like I was going to pass out, left side of the body went numb.”

          “While watching my workers in the bath house, I got overheated, very weak,
           confused and unable to respond. Also, I was dry heaving and felt nauseated, I
           vomited blood.”

          “Was working in high heat when I started to feel dizzy, then later felt chest pain
           and body aches.”

       Ms. Simmons, likewise, testified that she saw “at least five” corrections officers in her unit

pass out in the high heat.277 Mr. Collier acknowledged during the hearing that TDCJ correctional

officers continue to suffer from heat-related illnesses.278 TDCJ reported 35 instances of heat-

related illnesses of TDCJ staff to the Texas Legislature in 2023.279

V.     MR. COLLIER KNOWS THAT TDCJ’S HEAT-MITIGATION POLICIES ARE INADEQUATE.

       Mr. Collier acknowledged that, “despite TDCJ’s heat mitigation policies and measures,

heat was a factor in at least three [inmates’] death[s] last summer.”280 He admitted that 17 TDCJ

inmates suffered heat-related illnesses in summer 2023, despite TDCJ’s heat-mitigation




277
    Final Hearing Tr. (July 30, 2024) at 39:16-18.
278
    Final Hearing Tr. (Aug. 2, 2024) at 229:4-231:11.
279
    Pls.’ Hearing Ex. 102.
280
    Final Hearing Tr. (Aug. 2, 2024) at 221:8-12.

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measures.281 And he recognized that, despite TDCJ’s heat-mitigation policies and measures, TDCJ

inmates submitted nearly 6,000 heat-related grievances in 2023 alone.282 TDCJ’s experience last

summer shows what Mr. Collier has known for years: Respite rooms, fans, cold showers, cold

water, and TDCJ’s other heat mitigation measures do not address—much less ameliorate—the

substantial risk of serious harm that extreme heat poses to TDCJ inmates.

       In 2017, Judge Keith Ellison concluded that “the mitigation measures put in place by TDCJ

are insufficient to combat the substantial risk of serious injury or death faced by the inmates at the

[Wallace] Pack Unit during the summer months.”283 Judge Ellison explained that, “[s]ince the 12

heat-related deaths in 2011 and 2012, TDCJ has implemented, and attempted to implement, many

of the mitigation measures discussed by the Fifth Circuit in Ball v. LeBlanc.”284 In Judge Ellison’s

view, however, these measures did not “reduce the substantial risk of heat-related illness faced by

all of the men at the Pack Unit, and particularly not the men with heat sensitivities.”285 The

following year, the Texas House Committee on Corrections reached the same conclusion: “Based

on the medical information about human health and heat-related health risks, TDCJ cannot rely

only on mitigation measures to ensure the well-being of inmates and corrections personnel.”286

       In July 2022, a study authored by Dr. Carlee Purdum and published by Texas A&M

concluded that, “despite [TDCJ’s] current heat mitigation policies, nearly every year, there are

reports of incarcerated people and staff falling extremely ill and/or dying from complications from




281
    Final Hearing Tr. (Aug. 2, 2024) at 222:4-7, 224:10-14; Pls.’ Hearing Ex. 102.
282
    Final Hearing Tr. (Aug. 2, 2024) at 221:13-222:3; Pls.’ Hearing Ex. 102 at 4.
283
    Cole, 2017 WL 3049540, at *10.
284
    Id.
285
    Id.
286
    Plaintiffs’ Hearing Ex. 34 at 58.

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extreme heat in Texas prisons.”287 That study warned that “[i]ncreasing annual temperatures and

the increase of days over 100 degrees in Texas will continue to exacerbate the degradation of health

for both incarcerated people and staff” in the TDCJ system. 288 The study based its conclusions on

survey responses from TDCJ inmates:

       •   66% said they did not have access to ice.289

       •   61% said they did not have access to cool-down showers.290

       •   60% said wellness checks weren’t happening regularly.291

       •   47% reported being denied access to respite areas.292

       •   29% said that they knew of at least one heat-related death in their own unit or
           another.293

       •   11% said they did not receive access to cold water, and the respondents who
           reported receiving access to cold water described “a pattern or persistent
           inconsistency.”294

       TDCJ’s heat-mitigation policies were in place during the years of Dr. Skarha’s study, yet

heat-related deaths continued unabated.295 According to Dr. Skarha, if mitigation measures were

effective in preventing heat-related deaths in Texas prisons without air-conditioning, she would

have expected to see no effect from heat on mortality in those facilities.296 But she did see an effect,

even while TDCJ’s mitigation measures were in place.297



287
    Pls.’ Hearing Ex. 55 at 3-4.
288
    Id. at 4.
289
    Id. at 22.
290
    Id. at 27-28.
291
    Final Hearing Tr. (Aug. 2, 2024) at 237:16-238:4; Pls.’ Hearing Ex. 55 at 14.
292
    Pls.’ Hearing Ex. 55 at 31-32.
293
    Final Hearing Tr. (Aug. 2, 2024) at 235:11-17; Pls.’ Hearing Ex. 55 at 18.
294
    Final Hearing Tr. (Aug. 2, 2024) at 240:16-241:18; Pls.’ Hearing Ex. 55 at 20.
295
    Pls’ Hearing Exs. 70 & 75.
296
    Final Hearing Tr. (July 30, 2024) at 172:24-173:7.
297
    Id. at 173:9-11.

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       Mr. Collier also personally acknowledged having received Dr. Purdum’s and Dr. Skarha’s

studies in 2022 and being aware of their findings.298 He said that he had TDCJ’s “research director”

Mr. Barbee “look at” the Skarha study,299 but he did not recall having asked anyone at UTMB or

anyone with an epidemiology degree to review that study.300

       In the face of conclusions that 271 people likely died from heat in Texas prisons over 19

years, Mr. Collier’s Rule 30(b)(6) designee testified that TDCJ did not give the Texas A&M study

or Dr. Skarha’s study “much credibility,” because TDCJ did not “sanction” them and was not

“involved” in them.301 Mr. Collier’s designee called Dr. Skarha’s study “nothing more than writing

on a piece of paper.”302 Mr. Collier’s designee testified that TDCJ did not do anything to

investigate the findings of either study.303 Nor did Mr. Collier or anyone else who testified at the

hearing on his behalf identify any actions or policy changes made in response to the Skarha study

or the Purdum study.

       Plaintiffs’ corrections expert Dean Williams testified that, if he received notice of

something like the Skarha study, he would not ignore it and it would instead have raised “high

alarms” with him.304 In Mr. Williams’s view, not responding to deaths, scientific studies, staff

illnesses, and inmates illnesses puts people’s health and safety at risk.305 Mr. Collier’s own

corrections expert, John Baldwin, agreed that if he received a study from a credible source alerting




298
    Final Hearing Tr. (Aug. 2, 2024) at 234:8-235:23, 243:10-245:11.
299
    Id. at 244:6-245:11.
300
    Id. at 244:21-245:11.
301
    ECF 155, TDCJ 30(b)(6) Dep. at 260:15-261:14.
302
    Id., at 262:19-263:1.
303
    Id., at 270:21-274:23, 283:18-284:14.
304
    Final Hearing Tr. (July 31, 2024) at 240:23-241:24.
305
    Id. at 242:23:243:2.

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him to dangerous conditions in his prison system, he would review the study.306 In fact, he

acknowledged that receiving a study like Dr. Skarha’s, showing 14 people died every year from

extreme heat in unairconditioned housing, would cause him concern. He would review and

evaluate a study like that.307 Likewise, Mr. Baldwin acknowledged that, if he received information

like what was contained in the Texas A&M study, he would investigate it.308 And Mr. Morales

testified that “any reasonable person in [his] position . . . or in Mr. Collier’s position” would look

into the Purdum study’s findings. 309

       Even if he refused to give credence to multiple reputable studies, Mr. Collier knew TDCJ’s

heat mitigation policies were inadequate. He admittedly knew that dozens of TDCJ inmates had

died or fallen ill because of extreme heat with those measures in place. Evidence presented at the

hearing, which he attended, underscored those inadequacies.

       A.      TDCJ’s Heat Score System is Arbitrary, Inadequate, and Ineffective.

       The testimony during the preliminary injunction hearing revealed that TDCJ’s heat score

system is arbitrary, inadequate, and ineffective. Although all TDCJ inmates face a substantial risk

of serious harm from the extreme heat in unairconditioned facilities,310 only approximately 12,289

of the 134,500 individuals incarcerated in the TDCJ system (i.e., less than 10%) have a heat

score.311 Mr. Collier’s designee and Mr. Fitzpatrick confirmed that Mr. Tiede does not currently

have a heat score, even though he is 65 years old and has been diagnosed with a stroke, diabetes,




306
    Final Hearing Tr. (Aug. 2, 2024) at 54:24-55:3.
307
    Id. at 55:18-23.
308
    Id. at 59:13-60:11.
309
    Final Hearing Tr. (Aug. 1, 2024) at 278:16-280:13.
310
    Final Hearing Tr. (July 31, 2024) at 127:7-11.
311
    Final Hearing Tr. (Aug. 1, 2024) at 25:3-5.

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chronic obstructive pulmonary disease, hypertension, and obesity.312 As Dr. Vassallo testified, if

TDCJ’s heat score system does not warrant housing Mr. Tiede in an air-conditioned cell, she has

no confidence in the legitimacy or adequacy of the system.313 Mr. Castillo apparently did not have

a heat score, either, despite being diagnosed with epilepsy and taking an antiseizure medication

and an SSRI at the time of his death.314 Nor did Ms. Hagerty (despite being a diabetic, having an

unspecified mood disorder, and on an SSRI at the time of her death),315 Mr. Womack (despite

being diagnosed with major depressive disorder, and being on an SSRI and an anticholinergic at

the time of his death),316 or Mr. Southards (despite being on an SSRI and an anticholinergic at the

time of his death).317

       Dr. Vassallo stated that “[s]tudies of heat-related deaths during heat waves have indicated

that subjects with mental illness had an increased risk of death.”318 She explained that several

classes or prescription drugs “impair thermoregulation,” including: (1) cardiovascular drugs,

(2) diuretics, (3) sympathomimetics or vasoconstrictors such as nasal decongestants like Sudafed

medications, (4) anticholinergics, and (5) SSRIs.319 She further concluded that “[p]eople over the

age of 65 have 10-12 times increased risk of heat-related illness and death than those younger than

65,” and that the “mortality from heatstroke in the elderly exceeds 50%.”320 UTMB’s own policies




312
    ECF 155, TDCJ 30(b)(6) Dep. at 205:7-206:7; Final Hearing Tr. (Aug. 1, 2024) at 200:25-
201:14.
313
    Final Hearing Tr. (July 31, 2024) at 124:13-125:5.
314
    Pls.’ Hearing Ex. 161 at 12.
315
    Pls.’ Hearing Ex. 169-A at 27.
316
    Pls.’ Hearing Ex. 200, at 6
317
    Pls.’ Hearing Ex. 192-A at 65.
318
    ECF 50-2, Ex. B, S. Vassallo Decl. ¶ 36.
319
    Id. ¶ 37.
320
    ECF 50-2, Ex. B, S. Vassallo Decl. ¶ 38.

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identify many of the same conditions and medications that affect heat tolerance—which, by and

large, are not incorporated into TDCJ’s heat score algorithm.321

       Indeed, as Dr. Leonardson acknowledged, the following individuals would not receive a

heat score: (1) a 90-year old with hypertension; (2) an individual with seizure disorder; (3) an

individual with diabetes who is under the age of 65; (4) an individual with liver cirrhosis who is

under the age of 65 and not taking certain medications; (5) an individual with asthma or pulmonary

disease who is under the age of 65; or (6) a 48-year-old inmate with diabetes, peripheral vascular

disease, obesity, asthma, and bilateral below-the-knee amputations due to diabetic gangrene.322

Even so, Dr. Leonardson is not aware of any policy requiring the TDCJ’s health service liaison

(who is not a doctor) to follow a doctor’s recommendation that an inmate be placed in an air-

conditioned cell.323 Nor can TDCJ’s health service liaison even “request assignment of an offender

to an air conditioned or climate controlled facility.”324 Mr. Baldwin testified that inmates’ medical

providers should determine which inmates are vulnerable and need to be housed in air-conditioned

cells.325 And he agrees that TDCJ has “no business” telling UTMB which medical conditions do

and do not receive a heat score.326

       B.      Respite Areas Are Inadequate and Ineffective.

       Respite areas—i.e., designated air-conditioned areas in TDCJ facilities—are also

inadequate and ineffective at reducing the substantial risk of harm posed by extreme heat, both in

practice and even in theory.



321
    Final Hearing Tr. (Aug. 1, 2024) at 126:20-127:9, 135:17-136:22; Pls.’ Hearing Ex. 274.
322
    Final Hearing Tr. (Aug. 1, 2024) at 114:16-115:6, 136:2-22, 140:11-24.
323
    Id. at 123:16-21.
324
    Id. at 134:7-18; Pls.’ Hearing Ex. 31.
325
    Final Hearing Tr. (Aug. 2, 2024) at 51:6-10.
326
    Id. at 51:11-15.

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       In practice, inmates do not have sufficient access to respite areas. TDCJ policy states that

inmates “may request access to a respite area 24 hours per day, seven days per week.”327 However,

corrections staff is required to administer respite area access, and Mr. Collier acknowledged there

are staffing shortages throughout TDCJ.328 He called staffing a “significant problem,” and TDCJ

itself recognized in a report to the Texas Legislature that staffing is TDCJ’s “most significant

major issue.”329 Professor Michele Deitch, an expert in prison policy, testified that TDCJ’s

widespread understaffing has had an “enormous impact” on TDCJ’s ability to implement its heat-

mitigation measures.330 She testified that understaffing prevents TDCJ from effectively managing

the respite room system, and that the respite areas do not have enough space to accommodate

everyone who would like to use them.331 This is consistent with what has been publicly reported:

TDCJ’s respite areas are “crowded and uncomfortable,” “packed with inmates,” and “almost

nonexistent” because of the agency’s staffing crisis.332

       Ms. Deitch’s testimony is also consistent with testimony from current and former TDCJ

inmates. In a video taken by film director Richard Linklater, Mr. Tiede confirmed that TDCJ has

a “huge” staff shortage because corrections officers “don’t want to come to work” in the heat, and

that the ratio of corrections officers to inmates is completely “out of proportion” as a result.333 He

said that respite areas are “hard to come by” in his unit.334 Ms. Simmons testified that she and other

inmates in her unit could not use respite rooms late at night, and they “never had respite available”


327
    Def.’s Hearing Ex. 1 at 24.
328
    Final Hearing Tr. (Aug. 2, 2024) at 239:17-19.
329
    Id. at 254:10-20; Pls.’ Hearing Ex. 266 at 303-304.
330
    Final Hearing Tr. (July 31, 2024) at 152:6-18.
331
    Id. at 149:1-24.
332
    ECF 50-35, Ex. 24.
333
    Pls.’ Hearing Ex. 243.
334
    Pls.’ Hearing Ex. 244.

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after midnight.335 Starting at about 10:00 a.m., women in her unit would start asking for respite,

and sometimes the response from staff would be “respite’s not open yet,” or that they did not “have

anybody [on staff] to open respite yet.”336 When Ms. Simmons was in a higher security level cell,

respite was only available once a day around 8:00 or 9:00 p.m.337

       Ms. Simmons further testified that her unit was often short-staffed, and even more so in

the summer months, which affected her ability to use respite rooms.338 There were also significant

barriers to using the respite rooms—inmates were required to get fully dressed in their TDCJ

uniform and clean their cells, and they “can only fit so many people” so they often had to wait in

line, in the heat, to do so.339 Once in the respite rooms, inmates were sometimes told “to face the

wall,” “not to talk,” or to “sit on the floor.”340 And, although TDCJ policy states that inmates “shall

be permitted to stay in the respite area as long as necessary,” 341 Ms. Simmons testified that she

could only stay in those areas for fifteen minutes to an hour.342 As a result, the rooms were not

effective in reducing the physical effects of the heat.343 If inmates refused to leave the respite area,

they would be physically removed and placed in solitary confinement.344

       Mr. Malouff’s access to respite rooms was similarly limited. While he was in the Pack

Unit, the respite room was located in a different building that was a “quarter, half mile” away.345



335
    Final Hearing Tr. (July 30, 2024) at 41:1-11.
336
    Id. at 41:3-7.
337
    Id. at 41:7-11.
338
    Id. at 41:18-42:5, 43:6-11.
339
    Id. at 43:12-44:12.
340
    Id. at 46:1-10.
341
    Def.’s Hearing Ex. 1 at 24.
342
    Final Hearing Tr. (July 30, 2024) at 41:15-17.
343
    Final Hearing Tr. (July 30, 2024) at 47:23-25.
344
    Id. at 46:17-47:4.
345
    Id. at 185:8-13.

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He had to put in a written request for a TDCJ staff member to escort him, and sometimes it would

take a half-hour to an hour for him to be escorted—depending on the number of staff available.346

There were times when his written request for respite “wasn’t responded to at all.”347 And he could

spend a “very short” period of time there—“maybe 15, 20 minutes”—before he was brought back

to his unairconditioned dorm.348 He believes short staffing also affected his ability to use respite

rooms.349 From his perspective, the respite rooms were not effective at reducing the effects of the

heat on him because “it was short-term,” “it really didn’t do anything for you, and as soon as you

left, you went right back into that heat.” 350

        Nor are respite rooms even effective in theory. Even assuming inmates could readily access

a respite area, that still puts the onus on them to affirmatively identify that they are exhibiting

symptoms of a heat-related illness. The issue with that, according to Dr. Vassallo, “is that people

don’t know they are in trouble” from the heat, so they can “start having cognitive problems from

heat illness before they realize they need to go to [a respite room].”351 In other words, “the rapidity,

the speed at which heatstroke strikes means that checking people that are walking around,

somebody is sleeping in their bed, everything looks fine . . . , and they can still suffer a heatstroke

without the correction staff realizing they’re in trouble.”352 This is consistent with the medical

literature on heat stroke, which notes that patients experiencing heat stroke may only initially




346
    Id. at 185:14-186:3.
347
    Id. at 186:4-6.
348
    Id. at 186:10-14.
349
    Id. at 186:7-9.
350
    Id. at 186:15-21.
351
    ECF 50-42, Ex. 32 at 135:19-136:15.
352
    ECF 50-42, Ex. 32 at 135:23-136:5.

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complain of “weakness, lethargy, nausea, or dizziness,” and “[t]he presentation of older adults

with heat stroke may be subtle and nonspecific early in the course of the disease.”353

        Moreover, even if inmates were able to readily access respite areas, these areas are, by

definition and design, a temporary respite from the permanent condition of extreme heat. As Dr.

Vassallo testified in the Cole v. Collier case, when inmates are not in air-conditioning, “they are

subjected to the temperatures . . . which are risky and cause harm, including sickness, morbidity,

and mortality.”354 Thus, even if TDCJ inmates get “three or four or five hours” in respite—an

implausible notion, given the evidence—“that leaves . . . 19 or 20 hours in these heat

conditions.”355 In other words, “it’s the total accumulated heat stress for the 20 hours you’re in the

[extreme] temperatures” that “matters” from a risk perspective.356 This opinion was supported by

a study, which concluded that there was “ten percent more death[s]” among people who simply

visited an air-conditioned location, as compared to those who had air-conditioning in their homes

full-time.357

        C.      Cold Showers Don’t Work.

        TDCJ policy says that, at times of high heat, prisons should “[a]llow additional showers

for inmates when possible.”358 However, Professor Deitch testified that TDCJ’s widespread

understaffing issues prevent TDCJ staff from consistently bringing inmates to cold showers.359

This testimony was supported by that of the former TDCJ inmates. Indeed, Ms. Simmons testified




353
    Pls.’ Hearing Ex. 275.
354
    ECF 50-42, Ex. 32 at 135:25-136:12.
355
    Id. at 135:16-18.
356
    Final Hearing Tr. (July 31, 2024) at 43:1-12.
357
    Id. at 40:16-41:19; Pls.’ Hearing Ex. 13.
358
    Defs.’ Hearing Ex. 1 at 41-42.
359
    Final Hearing Tr. (July 31, 2024) at 352:6-12.

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that cold showers were not available in her unit at all for several hours during count time or from

10:00 p.m. to 7:00 a.m.360 Even when they were available, her unit had only one cold shower for

“80 to 125 women” who “need[ed] to get relief from the heat.”361 And, as discussed, the night

before he died, Mr. Womack’s request for a respite shower was denied.362 One of Mr. Womack’s

fellow inmates noted that this denial was “nothing unusual for [the] Coffield [Unit],” and that the

“excuse is always we are understaffed.” 363

       Moreover, even if TDCJ provided inmates sufficient access to cold showers, the relief

provided from showers is, much like that provided by respite areas, temporary and fleeting. Dr.

Vassallo testified that cold showers only work “while you’re wet” and while you are experiencing

“evaporative cooling.”364 As soon as you are dry, “you are no longer being cooled by that

shower.”365 In other words, the shower will only “fix” the problem—i.e., extreme heat—“for about

ten minutes” until the inmate “dries off.”366 Dr. Vassallo also discussed a metanalysis of various

heat-mitigation measures, which concluded that increased cold showers or baths did not lead to a

“statistically significant” difference in mortality rates from high heat.367 In short, Dr. Vassallo

believes that “taking frequent [cold] showers doesn’t help” address the substantial risk of serious

harm posed by extreme heat.368




360
    Final Hearing Tr. (July 30, 2024) at 49:12-14.
361
    Id. at 49:14-17.
362
    Pls.’ Hearing Ex. 200-B at 2, 42.
363
    Id. at 42.
364
    Final Hearing Tr. (July 31, 2024) at 113:3-20.
365
    Id. at 113:19-20.
366
    Id. at 135:5-21.
367
    Final Hearing Tr. (July 31, 2024) at 42:7-14; Pls.’ Hearing Ex. 13 at 5-6.
368
    Final Hearing Tr. (July 31, 2024) at 117:18-25.

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       D.      Fans Are Inadequate and Counter-Productive in Extreme Heat.

       According to Dr. Vassallo, fans do not lessen the risk of heat-related illness, either.369 In

fact, when the heat index exceeds 99°, “fans elevate the risk of heat-related illness, increasing the

heat load on the body by moving hot air across the skin.”370 In other words, “increased wind speeds

of hot air can actually raise the skin temperature and thus produce opposite results by increasing

core body temperature.”371 This is consistent with guidance from the U.S. Environmental

Protection Agency, which warns: “[U]sing a portable electric fan alone when heat index

temperatures exceed 99°f actually increases the heat stress the body must respond to by blowing

air that is warmer than the ideal body temperature over the skin surface.”372 Dr. Vassallo has

therefore opined that “providing additional fans does nothing to address the health risks of the

extreme temperatures.”373

       E.      Access to Cold Water is Inconsistent and Does Not Reduce the Long-Term
               Effects of the Heat on TDCJ Inmates.

       As Professor Deitch testified, TDCJ’s widespread understaffing issues further prevent

TDCJ staff from consistently bringing inmates ice or water.374 This testimony was supported by

the experiences of former TDCJ inmates, including Ms. Simmons, who testified that there was

rarely enough ice water to meet the demand of the women in her unit, as they would only receive

one cooler for a dorm with 124 women.375 Mr. Malouff testified that, while he was incarcerated, it




369
    ECF 50-2, Ex. B, S. Vassallo Decl., ¶ 41.
370
    Id., ¶ 41.
371
    Pls.’ Hearing Ex. 13 at 5-6.
372
    ECF 50-28, Ex. 17, Excessive Heat Events Guidebook (March 2016), U.S. Environmental
Protection Agency, at 37 (emphasis added).
373
    ECF 50-2, Ex. B, S. Vassallo Decl., ¶ 41.
374
    Final Hearing Tr. (July 31, 2024) at 152:6-18.
375
    Final Hearing Tr. (July 30, 2024) at 48:16-25.

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could take up to eight hours for TDCJ staff to refill the water cooler in his unit.376 Individuals

incarcerated in TDCJ also reported to Ms. Robertson that they went “eight to nine hours at a time

with no water” in July 2024, and Mr. Wilson repeatedly noted the shortage of water—and the fact

that inmates in his unit would only receive water once per day—in the weeks before he died.377

        Dr. Vassallo also opined that “the provision of additional ice [water], on its own, does not

mitigate the risk of heat-related illness.”378

        F.      Evidence Submitted by Mr. Collier Raises Substantial Concern About
                Whether TDCJ Implements its Heat Mitigation Measures in Accordance With
                TDCJ Policy.

        According to TDCJ policy, units are only required to provide inmates access to respite

areas “during periods of excessive heat,” and they are only required to provide inmates other heat

mitigation measures—cold showers, fans, and ice water—“where the heat index is above 90°F.”379

So, TDCJ’s heat mitigation measures depend on TDCJ staff to diligently and accurately monitor

and report the heat index at their units.

        Evidence presented by Mr. Collier at the preliminary injunction hearing cast substantial

doubt on TDCJ’s own processes and procedures for keeping track of the heat index and, in turn,

whether TDCJ is complying with its own heat-mitigation policy. In an attempt to rebut testimony

from Plaintiffs’ witnesses, Mr. Collier’s counsel introduced into evidence a manual temperature

log reporting the outside air temperature, humidity, and heat index at the Mark W. Stiles Unit for

July 2022.380 During the direct examination of Mr. Collier, his counsel focused on the outside



376
    Id. at 187:4-10.
377
    Pls.’ Hearing Exs. 137 & 264.
378
    ECF 50-2, Ex. B, S. Vassallo Decl., ¶ 41.
379
    Def.’s Hearing Ex. 1 at 41-42.
380
    Final Hearing Tr. (Aug. 2, 2024) at 195:12-15, 217:20-219:1 (admitting Def.’s Ex. 76 into
evidence).

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temperature at the unit on July 12, 2022, which was logged at a consistent 79o from 12:30 a.m. to

4:30 p.m.381

       After having consulted an authoritative source on the matter during the hearing, this Court

took judicial notice that, on July 12, 2022, the temperature actually reached a high of 96o in

Beaumont, Texas (where the Stiles Unit is located), despite TDCJ’s log indicating that the

temperature never exceeded 87°.382 Additionally, the log recorded the heat index as being lower

than the ambient temperature, despite the 90% humidity.383 And the temperatures included in the

log for that day were noted as being recorded by different people, despite being written in the same

handwriting.384 Because of these discrepancies, the Court determined that the temperature log for

July 12, 2022 was fabricated.385

       The logs for several other days in Defendants’ Exhibit 76 have similar discrepancies—

including July 1 & 2, 2022 (“Wheeler” is in different handwriting, despite purportedly being

entered by the same person); July 6, 2022 (similar handwriting for entries purportedly by different

people); July 7, 2022 (similar handwriting and pen for entries purportedly by different people);

July 13, 2022 (similar handwriting and pen for entries purportedly by different people); and July

14, 2022 (same).386 Although the Court asked Mr. Collier’s counsel on August 2, 2024 (the last

day of the hearing) to provide an explanation for these discrepancies, and Mr. Collier’s counsel

agreed, Mr. Collier has not done so as of the date of this filing.387




381
    Def.’s Hearing Ex. 76 at 12.
382
    Final Hearing Tr. (Aug. 2, 2024) at 276:16-277:10.
383
    Id. at 277:10-15.
384
    Id. at 277:16-19.
385
    Id. at 278:20-279:1.
386
    Def.’s Hearing Ex. 76 passim.
387
    Final Hearing Tr. (Aug. 2, 2024) at 287:2-10.

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       The discrepancies in Defendant’s Exhibit 76 and the discrepancies between the number of

heat-related illnesses that UTMB reports to TDCJ and what TDCJ reports to the Texas Legislature

(discussed in Section IV.G., supra) raise significant questions about the veracity and reliability of

the other documents Mr. Collier presented at the hearing regarding TDCJ’s compliance with its

own heat-mitigation policies.388

VI.    AIR-CONDITIONING IS THE ONLY EFFECTIVE PROTECTION FROM EXTREME HEAT.

       A.      Reducing Temperatures to Safe Levels Is the Least Restrictive Means to
               Address the Risks Posed by Extreme Heat.

       Mr. Collier’s Rule 30(b)(6) designee testified that installing air-conditioning “is the right

thing to do, it is the humane thing to do, and it is something [TDCJ] should have done a long time

ago.”389 He testified that it is “the right thing to do because of the increased temperatures that the

state is seeing, the increase of medication that . . . inmates are on as opposed to 20 years ago, 30

years ago, 40 years ago,” and because “[t]here’s a lot of factors that exacerbate the need for

wanting to air condition” TDCJ facilities.390 Mr. Collier’s Rule 30(b)(6) designee was not aware

of any heat-related illnesses at the Pack Unit since air-conditioning was installed there.391 And he

was not aware of any heat-related illnesses that have occurred in air-conditioned housing areas in

the TDCJ system in the last 30 years.392

       TDCJ’s former Director of Facilities, Cody Ginsel, agreed that installing air-conditioning

in all of TDCJ’s facilities would reduce the risk of heat-related injuries among TDCJ staff.393 And



388
     Id. at 282:20-283:6 (“If what [TDCJ is] saying is they’re doing all this good stuff but they’re
doing it [relying on these temperature logs], that’s a problem.”).
389
     ECF 155, TDCJ 30(b)(6) Dep. at 304:23-305:4.
390
     ECF 155, TDCJ 30(b)(6) Dep. at 38:13-39:11.
391
     Id., 99:25-100:3, 161:8-12.
392
    Id., 99:25-100:3, 161:13-21.
393
     Final Hearing Tr. (Aug. 1, 2024) at 254:19-23.

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Mr. Collier’s corrections and correctional risk management expert, Paul Morales, confirmed that

air-conditioning TDCJ’s facilities would “eliminate the risk of injury from the heat.”394 Mr. Collier

himself acknowledged that he wants air-conditioning in all TDCJ facilities and recognized that air-

conditioning is the best solution to reduce temperatures in TDCJ facilities.395 He stated that the

only reason air-conditioning has not been installed in all housing areas throughout TDCJ is because

the Texas Legislature has not appropriated the funds to do so.396

       Dr. Vassallo explained that TDCJ inmates are “still dying” from extreme heat despite the

mitigation measures, because those measures “do[] not remove the heat.”397 Dr. Vassallo opined

that having working air-conditioning has been “associated with an 80% reduction in the risk of

death due to heat and cardiovascular disease and a 66% reduction in mortality due to

cardiovascular disease.”398 “In one study, it was estimated that 50% of the deaths related to a heat

wave could have been prevented with a working air conditioner. Lack of air conditioning was

reported in 91% of deaths in one report.”399 Dr. Vassallo opined that this data is “directly applicable

to the Texas prisons.”400 In her view, “excess morbidity and mortality in TDCJ facilities resulting

from the extreme heat of the Texas summers can only be combatted by bringing the temperature

in the prisons down.”401 “[P]utting everyone” in the TDCJ system “in air conditioned housing [is]




394
    Final Hearing Tr. (Aug. 2, 2024) at 283:8-16.
395
    Id. at 254:24-255:20.
396
    Pls.’ Hearing Ex. 254, Mr. Collier’s Resp. to Interr. 17.
397
    Final Hearing Tr. (July 31, 2024) at 39:4-12.
398
    ECF 50-2, Ex. B, S. Vassallo Decl., ¶ 40.
399
    Id.
400
    Id.
401
    Id.

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the only way to eliminate the heat risk and the deaths and illnesses.”402 Or, as Dr. Vassallo put it,

if “[y]ou remove the heat” through temperature control, then “nobody dies [from the] heat.”403

       According to the Skarha study, the risk of dying in Texas prisons with airconditioned

housing areas actually decreased as the heat index increased.404 There was no association between

an increase in temperature and risk of death in prisons with air-conditioning—which indicates that

air-conditioning has a protective effect on human health.405

       Mr. Williams testified that TDCJ’s mitigation measures are not an appropriate solution

because they “accept[] the fact that” people “are going to die as a result of” the heat, and that the

underlying problem “can’t be fixed by other means.”406 In Mr. Williams’s view, the only solution

to the risks posed by extreme heat is air-conditioning.407 Mr. Baldwin, likewise, agreed that the

solution to the problem of extreme heat is to install air-conditioning.408

       Mr. Malouff was in the Pack Unit when TDCJ installed temporary air-conditioning

pursuant to Judge Ellison’s order.409 Unlike TDCJ’s heat mitigation measures, Mr. Malouff

believed that the temporary air-conditioning in the Pack Unit was effective at reducing the effects

of the heat on him and his fellow inmates.410




402
    Final Hearing Tr. (July 31, 2024) at 71:11-14.
403
    Id. at 39:9-12.
404
    Pls.’ Hearing Ex. 70 at 5.
405
    Final Hearing Tr. (July 30, 2024) at 162:22-163:2, 168:16-23; Pls.’ Hearing Ex. 70 at 5.
406
    Final Hearing Tr. (July 31, 2024) at 255:3-19.
407
    Final Hearing Tr. (July 31, 2024) at 255:20-256:8.
408
    Final Hearing Tr. (Aug. 2, 2024) at 31:16-19.
409
    Final Hearing Tr. (July 30, 2024) at 187:13-17.
410
    Id. at 187:24-188:5.

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       B.      Air-Conditioning the Entire TDCJ System is Feasible.

       TDCJ agrees that installing temporary air-conditioning is feasible, and if ordered by the

Court to install air-conditioning, it would do so.411 Mr. Collier also acknowledged that it is feasible

to install temporary or permanent air-conditioning.412 TDCJ’s current Director of the Facilities

Division, Mr. Ronald Hudson, likewise, agreed that temporary and permanent air-conditioning

“can be installed i[n] every TDCJ facility.”413

       TDCJ’s recent experience confirms that it can install temporary air-conditioning

expeditiously when it has to. Mr. Malouff, who was in the Pack Unit when TDCJ installed

temporary air-conditioning in response to Judge Ellison’s order, offered unrebutted testimony that

it took TDCJ 60 to 90 days to install it.414

       TDCJ also installed temporary air-conditioning at several units in response to Governor

Abbott’s statewide order for undocumented immigrants to be arrested on state criminal charges

and incarcerated in TDCJ facilities—which was called “Operation Lone Star.”415 Because these

individuals had not been convicted, TDCJ had to comply with the Texas Board of Jail Standards—

which, among other things, require that indoor temperatures be between 65 and 85.416 To comply

with Governor Abbott’s order, TDCJ installed temporary air-conditioning in the Briscoe, Segovia,

and Lopez Units,417 and it did so in approximately three to four months—i.e., from May 2021 to




411
    ECF 155, TDCJ 30(b)(6) Dep. at 42:16-43:4, 120:3-10.
412
    Final Hearing Tr. (Aug. 2, 2024) at 258:13-16.
413
    Id. at 137:5-11.
414
    Final Hearing Tr. (July 30, 2024) at 187:18-23.
415
    Final Hearing Tr. (Aug. 2, 2024) at 126:20-127:10.
416
    Id. at 127:14-21 (Hudson); id. at 259:8-260:4 (Collier).
417
    Id. at 127:22-128:4.

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August or September 2021.418 Those units have all had temporary air-conditioning since then.419

TDCJ did not have to go through a design phase to comply with Governor Abbott’s order for

Operation Lone Star.420

       C.      TDCJ’s Current Plan to Install Air-Conditioning is Inadequate.

       TDCJ’s current air-conditioning plan does not call for the installation of temporary air-

conditioning to protect inmates while TDCJ is getting funding for, and designing and constructing,

permanent air-conditioning at its unairconditioned facilities.421 The figures Mr. Hudson provided

for the cost of temporarily air-conditioning unairconditioned prisons are “pie in the sky” numbers,

because TDCJ has not solicited any bids for installing temporary air-conditioning throughout the

system.422 TDCJ also has not solicited bids for installing permanent air-conditioning throughout

the system.423 According to the Texas Comptroller of Public Accounts’ 2024-2025 Certification

Revenue Estimate, Texas has an estimated $18.29 billion surplus for this upcoming legislative

session.424 And, although TDCJ has a multi-billion-dollar budget,425 it has allocated only $115.5

million to adding air-conditioning since 2018.426


418
    Id. at 128:5-13.
419
    Id. at 84:6-12, 128:15-130:15.
420
    Id. at 156:15-18.
421
    Def.’s Hearing Ex. 21.
422
    Final Hearing Tr. (Aug. 2, 2024) at 123:15-124:23.
423
    Id. at 124:24-125:1.
424
     2024-2025 Certification Revenue Estimate, Texas Comptroller of Public Accounts,
https://comptroller.texas.gov/transparency/reports/certification-revenue-estimate/2024-
25/docs/cre-2024-25.pdf. Under Rule 201 of the Federal Rules of Evidence, that Court may take
judicial notice of a fact that is not subject to reasonable dispute because it can be accurately and
readily determined from sources whose accuracy cannot reasonably be questioned. The Court finds
that the Texas surplus as estimated by the Texas Comptroller of Public Accounts is such a fact,
and that the Texas Comptroller of Public Accounts is a source whose accuracy cannot reasonably
be questioned.
425
    Pls.’ Hearing Ex. 266 at 35-39.
426
    Def.’s Ex. 17.

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       Approximately 96,500 of TDCJ’s 142,240 beds remain unairconditioned.427 When asked

about Defendant’s Exhibit 79, Mr. Hudson could not provide a month and year by when air-

conditioning will be installed in any of the facilities highlighted in yellow or gray or not highlighted

at all—a total of 62 facilities.428 Mr. Hudson and Mr. Baldwin testified that, at TDCJ’s average

rate of installing air-conditioned beds since 2018 (1,376 beds per year), it would take 70 years—

i.e., until 2094—to install air-conditioning throughout TDCJ.429 Mr. Hudson also acknowledged

that, even at a rate of 3,100 new air-conditioned beds per year (which is what TDCJ averaged in

2023 and 2024), it would take TDCJ 30 years—i.e., until 2054—to install permanent air-

conditioning throughout the system.430 Mr. Baldwin agreed that, as a general matter, it would be

absurd, utterly unreasonable, and “not okay” to wait 70 years to fix a danger that is killing

people.431

       D.      Other Prisons Air Condition Their Systems.

       Since 1994, state-wide regulations adopted by the Texas Commission on Jail Standards

have required all jails in Texas to maintain indoor temperatures between 65 and 85.432 Other

government buildings in Texas must maintain “comfortable” levels (e.g., between 68 and 78).433

North Carolina’s administrative code for its jail system requires “heating, ventilation, and air

conditioning systems that are capable of maintaining temperatures in confinement units at not less



427
    Pls.’ Hearing Ex. 204, Mr. Collier’s Resp. to Interr. 2.
428
    Final Hearing Tr. (Aug. 2, 2024) at 151:4-21; Def.’s Hearing Ex. 79.
429
    Id. at 34:1-17 (Baldwin); id. at 141:6-142:2 (Hudson); Pls.’ Hearing Exs. 150, 204.
430
    Final Hearing Tr. (Aug. 2, 2024) at 147:12-148:7; Def.’s Hearing Ex. 17.
431
    Final Hearing Tr. (Aug. 2, 2024) at 34:1-35:7, 38:24-40:15.
432
    37 Tex. Admin. Code §§ 259.160, 260.154, 261.255.
433
    See 25 Tex. Admin. Code § 297.8 (a)(1) (providing that “room temperature for a typical
occupied office or classroom environment should be kept between 72 to 76 degrees Fahrenheit in
the summer and 70 to 75 degrees in Fahrenheit in the winter and controlled within a temperature
range of ±2 degrees in Fahrenheit for a given day”).

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than 68 degrees Fahrenheit during the heating season and not more than 85 degrees Fahrenheit

during the cooling season.”434 Tennessee requires that local correctional facilities “have a

temperature of not less than sixty-five (65) degrees Fahrenheit and not more than eighty (80)

degrees Fahrenheit.”435 And, while there are no requirements under federal law, the Bureau of

Prisons operations manual says that target temperatures should be 76 in the summer and 68 in

the winter, with the caveat that facilities may be a few degrees higher or lower.436 TDCJ has

nevertheless refused to implement the same (or similar) standards.

                                   CONCLUSIONS OF LAW

       A plaintiff seeking a preliminary injunction must show that (1) they are likely to succeed

on the merits, (2) there is a substantial threat of irreparable harm, (3) the balance of equities tips

in their favor, and (4) an injunction is in the public interest. Book People, Inc. v. Wong, 91 F.4th

318, 336 (5th Cir. 2024) (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)).

The overarching “analysis requires ‘a balancing of the probabilities of ultimate success on the

merits with the consequences of court intervention at a preliminary stage.’” Texas v. United States,

86 F. Supp. 3d 591, 646 (S.D. Tex. Feb. 16, 2015) (quoting Meis v. Sanitas Serv. Corp., 511 F.2d

655, 656 (5th Cir. 1975)). But, because the preliminary injunction’s purpose is to “prevent

irreparable injury” and “preserve the court’s ability to render a meaningful decision on the merits,”

the court’s “focus always must be on prevention of injury by a proper order.” Canal Auth. of State

of Fla. v. Callaway, 489 F.2d 567, 576 (5th Cir. 1974); see also Wright & Miller, 11A Fed. Prac.

& Proc. Civ. § 2947 (3d ed.) (“[A] preliminary injunction is an injunction that is issued to protect




434
    ECF 50-1, D. Williams Decl. (Apr. 11, 2024) ¶ 19.
435
    Id. ¶ 20.
436
    Id. ¶ 16.

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plaintiff from irreparable injury and to preserve the court’s power to render a meaningful decision

after a trial on the merits.”).

          “To show a likelihood of success [on the merits], the plaintiff must present a prima facie

case, but need not prove that he is entitled to summary judgment.” Daniels Health Sciences, L.L.C.

v. Vascular Health Sciences, L.L.C., 710 F.3d 579, 582 (5th Cir. 2013); Univ. of Texas v.

Camenisch, 451 U.S. 390, 395 (1981) (emphasizing the plaintiffs are “not required to prove [their]

case in full at a preliminary-injunction hearing”). Mr. Tiede and the Organizational Plaintiffs have

done so here.

I.        MR. TIEDE IS LIKELY TO SUCCEED ON THE MERITS OF HIS EIGHTH AMENDMENT CLAIM.

          The Court has already determined that Mr. Tiede is “substantially likely to prove an Eighth

Amendment violation because of his enhanced sensitivity to extreme heat due to his medical

conditions.” (ECF 17 at 4.) While TDCJ houses Mr. Tiede in an airconditioned cell, TDCJ only

moved him there after the Court entered a temporary restraining order compelling the TDCJ to do

so. Id. As for his continued placement in an airconditioned cell, the Court has also determined that

“this voluntary cessation does not moot his request for relief, as it is not ‘absolutely clear that the

allegedly wrongful behavior could not reasonably be expected to recur.’” (ECF 95 at 7 (quoting

Sossamon v. Texas, 560 F.3d 316, 325 (5th Cir. 2009) (cleaned up), aff’d, 563 U.S. 277 (2011)).)

          Mr. Tiede’s condition has only worsened since the Court entered its temporary restraining

order, as he was diagnosed with a new “acute or subacute” stroke in his thalamus in April 2024.437

Despite his undisputed heat-sensitive co-morbidities, Mr. Tiede has not been assigned a “heat

score” that would require TDCJ to, consistent with its policy, place him in an air-conditioned




437
      See Findings of Fact, Section II, supra.

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cell.438 Most significantly, every TDCJ witness who testified at the hearing, including Mr. Collier,

refused to commit to keeping Mr. Tiede in an airconditioned cell.439 Thus, Mr. Tiede is at risk of

being moved into unairconditioned housing at any time. The evidence also shows that placing Mr.

Tiede in unairconditioned housing would be detrimental to his health and put him at substantial

risk of serious harm, including death.440 In particular, Dr. Vassallo offered unrebutted testimony

that Mr. Tiede is particularly vulnerable to heat, and that placing Mr. Tiede in unairconditioned

housing would put him at substantial risk of death or serious harm.441

       In sum, the evidence remains sufficient to show that Mr. Tiede is substantially likely to

prove an Eighth Amendment violation because of his enhanced sensitivity to extreme heat due to

his medical conditions, exposing him to an ongoing risk of injury or death from extreme heat. For

the same reasons as those set forth in Section VI. of these Conclusions of Law, Mr. Tiede has

shown that any mitigation measures short of placement in an air-conditioned cell do not either

eliminate the risk of heat-related illness and death to him. Ball v. LeBlanc, 792 F.3d 584, 599 (5th

Cir. 2015) (“Ball I”). Thus, this relief is narrowly drawn, extends no further than necessary to

correct the violation of the Federal right, and is the least intrusive means necessary to correct the

violation of the Federal right. See 18 U.S.C. § 3626(a)(1).

II.    THE ORGANIZATIONAL PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS.

       The Organizational Plaintiffs have, likewise, shown (1) they are likely to succeed on the

merits, (2) there is a substantial threat of irreparable injury, (3) the balance of harms favors an

injunction, and (4) the public interest supports preliminary relief. See Mock v. Garland, 75 F.4th



438
    See Findings of Fact, Section II, supra.
439
    See Findings of Fact, Section II, supra.
440
    See Findings of Fact, Section II, supra.
441
    See Findings of Fact, Section II, supra.

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563, 577 (5th Cir. 2023); Louisiana v. Biden, 55 F.4th 1017, 1022 (5th Cir. 2022).

       A.      Plaintiffs have sufficiently shown an Eighth Amendment violation.

       A prison official’s failure to take reasonably adequate measures to protect inmates from

extreme heat violates the Eighth Amendment when: (1) prison conditions pose an unreasonable

risk of serious damage to a prisoner’s health (i.e., the objective standard), and (2) the official acted

with deliberate indifference to the risk posed (i.e., the subjective standard). See, e.g., Yates v.

Collier, 868 F.3d 354, 361 (5th Cir. 2017) (collecting cases). What is cruel or unusual is not set in

stone but is instead based on what is “socially acceptable,” Ball I, 792 F.3d at 599, or consistent

with “[a] sufficient national consensus,” Roper v. Simmons, 543 U.S. 551, 562 (2005). In other

words, the extreme deprivation of any “minimal civilized measure of life’s necessities” violates

the Eighth Amendment. Davis v. Scott, 157 F.3d 1003, 1006 (5th Cir. 1998) (citation omitted).

               1.      Plaintiffs are substantially likely to prove the Eighth Amendment’s
                       objective standard.

       As this Court has recognized, “[i]t is well-established in the Fifth Circuit that the Eighth

Amendment guarantees inmates a right to be free from exposure to extremely dangerous

temperatures without adequate remedial measures.” (ECF No. 17 at 3 (internal quotation marks

and brackets omitted).) Indeed, the Fifth Circuit has recognized this risk for at least the last twenty

years. See Gates v. Cook, 376 F.3d 323, 340 (5th Cir. 2004). In the two decades since Gates, the

Fifth Circuit has repeatedly acknowledged the serious risk of harm that excessive heat poses in the

prison context absent adequate mitigating measures, and it has consistently found evidence

sufficient in these cases to support an Eighth Amendment violation, even when certain mitigating

measures were available. (See ECF No. 17 at 3 (quoting Yates, 868 F.3d at 359 and Hinojosa v.

Livingston, 807 F.3d 657, 669 (5th Cir. 2015)).)




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       In Gates, the Fifth Circuit held that inmates in the Mississippi Department of Corrections

faced a substantial risk of serious harm based on the MDOC’s failure to “provide fans, ice water,

and daily showers when the heat index is 90 degrees or above,” Gates, 376 F.3d at 339–40, even

though most of the inmates had the benefit of industrial sized fans as well as smaller personal fans.

Id. at 334. In Ball I, the Fifth Circuit affirmed the district court’s finding that the heat within a

prison housing area posed a substantial risk of serious harm to inmates, where the heat index

ranged from 81.5° to 107.79° and surpassed 100° on five or more days during a roughly two-week

period. 792 F.3d at 590–94. The Fifth Circuit did so despite the fact that those inmates had

continued access to potable water and ice. Id. at 590, 592. And in Cole, the court found that

extremely hot conditions at TDCJ facilities (a heat advisory warned that the heat index could reach

“near or above 108” degrees) constituted a substantial risk of serious harm sufficient to satisfy the

Eighth Amendment’s objective test. 2017 WL 3049540, at *39 (Ellison, J.).

       Here, Plaintiffs have, likewise, shown that extreme heat in TDCJ’s uncooled prisons

constitutes a well-established substantial risk of serious harm that constitutes cruel and unusual

punishment. Approximately 96,500 of TDCJ’s 142,240 beds remain unairconditioned.442 In the

last two summers, TDCJ logs have shown heat indexes outside as high as 134, and indoor

temperatures above 85 nearly every day from May 1, 2023 to September 30, 2023.443 This

evidence is consistent with testimony from current and former prisoners who have observed

temperatures in their units exceeding 110 and 130.444 TDCJ agrees that outdoor temperatures at

every Texas prison are expected to exceed 85 each summer, and that temperatures prisoners are




442
    See Findings of Fact, Section VI.C., supra.
443
    See Findings of Fact, Section III.A., supra.
444
    See Findings of Fact, Section III.A., supra.

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exposed to inside unairconditioned prisons are so high and dangerous that they require adequate

mitigation measures.445 Unfortunately, the heat will only get worse. As Dr. Mearns explains,

“increasing temperatures, increasing extreme temperatures, and more frequent heat waves” are

likely to continue, which will result in an increasing heat index, and number of hours per day with

extreme heat index values.”446 Mr. Collier has offered no evidence to the contrary and, in fact,

acknowledged that summers are hot in Texas, have been hot for years, and they are likely to

continue to be hot.447

       It is undisputed that heat “is one of the leading weather-related killers in the United States,

resulting in hundreds of fatalities each year.”448 As set forth above, a heat index of 88 or higher

poses a substantial risk of adverse health outcomes for everyone—even young, healthy people.449

Those risks include heat exhaustion, heat rash, dehydration, heat cramps, heat syncope, and heat

stroke—the last of which carries a “high mortality rate” and can have lasting negative health

consequences for those people who do not die.450 High heat also exacerbates mental illness.451

People with mental health disorders exhibit higher rates of suicidality, agitation, impulsivity, and

slowing of cognitive processing, and it causes mental health episodes requiring hospitalization.452

       These risks were uncontested by Mr. Collier. Indeed, TDCJ’s own training documents

acknowledge that “[i]ncreased body temperatures, if left uncontrolled, may lead to delirium,




445
    See Findings of Fact, Section III.A., supra.
446
    See Findings of Fact, Section III.A., supra.
447
    See Findings of Fact, Section III.A., supra.
448
    See Findings of Fact, Section III.A., supra.
449
    See Findings of Fact, Section III.A., supra.
450
    See Findings of Fact, Section III.A., supra.
451
    See Findings of Fact, Section III.A., supra.
452
    See Findings of Fact, Section III.A., supra.

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convulsions, seizures, and possibly even death.”453 Mr. Collier’s Rule 30(b)(6) designee

acknowledged that extreme heat is a dangerous condition in the system that “has killed inmates,

and [has] caused numerous inmates and officers to suffer heat-related illnesses.”454 And Mr.

Collier’s own internal medicine expert, Dr. Jane Leonardson, agreed that people exposed to severe

environmental heat between 90 to 105 F are at serious risk of illness and death.455

       Plaintiffs need not prove “that death or serious injury has already occurred” to satisfy the

Eighth Amendment’s objective standard. Ball I, 792 F.3d at 593 (citation omitted). Instead, they

need only show “a substantial risk of serious harm” from the extreme heat. Id. at 594. Even so,

Plaintiffs’ experts Dr. Julie Skarha and Dr. Antonella Zanobetti established that nearly three

hundred deaths were attributable to extreme heat in Texas prisons without air-conditioning

between 2001 to 2019, or an average of 14 deaths per year.456 Dr. Skarha and Dr. Zanobetti

concluded that a one-degree increase above 85 corresponds to a 0.7% increase in the risk of

mortality.457

       Neither heat-related deaths nor heat-related illnesses have abated since 2019. TDCJ

admitted to three heat-related deaths of inmates just last summer alone.458 That number is almost

certainly an undercount, given Plaintiffs’ unrebutted evidence of two additional heat-related deaths

(neither of which were classified as such by TDCJ), and TDCJ’s failure to timely perform

autopsies, failure to consistently take core body temperatures, and refusal to classify a death as




453
    See Findings of Fact, Section II.IA., supra.
454
    See Findings of Fact, Section II.IA., supra.
455
    See Findings of Fact, Section III.A., supra.
456
    See Findings of Fact, Section IV.B., supra.
457
    See Findings of Fact, Section IV.B., supra.
458
    See Findings of Fact, Section IV.C., supra.

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“heat-related” unless heat was the sole cause of the inmate’s death.459 Plaintiffs, likewise,

presented unrebutted testimony from Dr. Zanobetti and Dr. Skarha that inmates in

unairconditioned Texas prisons will continue to die from the heat.460

       The heat also continues to cause inmates and staff to suffer heat-related illnesses. TDCJ’s

public reports to the Texas Legislature acknowledged 17 TDCJ inmates suffered heat-related

illnesses in 2023, though Plaintiffs’ evidence shows this too is likely an undercount, with TDCJ’s

medical services provider, UTMB, reporting 35 prisoners with heat-related injuries in just June

2023 alone.461 According to TDCJ’s training documents, heat-related illness is the fifth-leading

cause of serious injuries among TDCJ employees.462 TDCJ also reported 35 heat-related illnesses

of staff to the Texas Legislature in 2023, and Plaintiffs presented evidence of nearly 80 heat-related

workers’ compensation claims filed by staff in 2022 and 2023.463

       Notably, these deaths and heat-related illnesses and injuries occurred during a summer

when Mr. Collier’s witnesses testified and TDCJ documents indicate the prisons were

implementing all of TDCJ’s heat mitigation measures, including their “heat score” system, access

to cooled respite areas, distribution of water and ice, cool showers, and fans.464 Based on this

evidence, Plaintiffs have shown that every TDCJ inmate in an unairconditioned cell faces a

substantial risk of death or serious bodily injury from the extreme heat, absent Court intervention.

Plaintiffs have thus satisfied the Eighth Amendment’s objective standard for the purposes of a

preliminary injunction motion.



459
    See Findings of Fact, Section IV.D-IV.G., supra.
460
    See Findings of Fact, Section IV.B., supra.
461
    See Findings of Fact, Section IV.G., supra.
462
    See Findings of Fact, Section IV.H., supra.
463
    See Findings of Fact, Section IV.H., supra.
464
    See Findings of Fact, Section V., supra.

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               2.      Plaintiffs are substantially likely to show that Mr. Collier acted with
                       deliberate indifference.

       To satisfy the Eighth Amendment’s subjective standard, Plaintiffs must show that it is

substantially likely that Mr. Collier “knows that inmates face a substantial risk of serious harm and

disregards that risk by failing to take reasonable measures to abate it.” Farmer v. Brennan, 511

U.S. 825, 847 (1994). This knowledge can be inferred “from circumstantial evidence,” and the

Court “may conclude that [Mr. Collier] knew of a substantial risk of serious harm from the very

fact that the risk was obvious.” Gates, 376 F.3d at 333, 340 (affirming finding of deliberate

indifference “based on the open and obvious nature of these conditions and the evidence that

inmates had complained of symptoms of heat-related illness”); see also Ball I, 792 F.3d at 595

(affirming finding of deliberate indifference based “on the totality of the record evidence” showing

prison official’s subjective knowledge). This knowledge may also be shown by evidence that the

risk is “longstanding, pervasive, well-documented, or expressly noted by prison officials in the

past,” and “the circumstances suggest that [Mr. Collier]” was exposed to that information. Farmer,

511 U.S. at 842–43. These standards are easily met here.

                       a. Mr. Collier knows that inmates face a substantial risk of serious harm,
                          and the risk is obvious, well-documented, long-standing, pervasive,
                          and expressly noted by TDCJ officials in the past.

       To begin with, Plaintiffs have offered evidence showing a substantial likelihood that Mr.

Collier knows that inmates face a substantial risk of serious harm from the extreme heat in Texas’s

unairconditioned prisons, and that risk of harm is obvious, well-documented, long-standing,

pervasive, and has been expressly noted by TDCJ officials in the past.

       First, Mr. Collier admitted during the hearing that he was aware of the several heat-related

deaths, multiple heat-related illnesses of inmates, dozens of workers’ compensation claims, dozens

of staff-related illnesses, and thousands of heat-related grievances from inmates just in the last two


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summers.465 He heard the testimony of Plaintiffs’ experts—Drs. Biswas, Skarha, Zanobetti,

Vassallo, and Uribe—regarding the risks posed by extreme heat, the heat-related deaths and

illnesses of TDCJ inmates, and the inadequacy of TDCJ’s heat-mitigation measures. And Mr.

Collier knows that this is not a new phenomenon. Indeed, he testified under oath in the Cole case

that he believed during the summer of 2019 that inmates confined in temperatures of 95 were at

a serious health risk.466 Mr. Collier’s Rule 30(b)(6) designee also acknowledged that the

temperatures TDCJ inmates are exposed to during the summer months are so high and potentially

dangerous that they are at a very real risk of harm and serious injury, unless adequate measures

are taken to protect them.467 And he admitted that extreme heat is a dangerous condition in the

system that “has killed inmates, and [has] caused numerous inmates and officers to suffer heat-

related illnesses.”468 Thus, Mr. Collier is personally aware of the substantial risk of harm faced by

TDCJ inmates in unairconditioned prisons, despite TDCJ’s heat-mitigation measures.

       Second, Mr. Collier is well-aware of the substantial risk of harm from extreme heat, given

the numerous lawsuits that have been filed against him, his predecessors, and TDCJ over the last

twenty-five years for deaths and serious illnesses caused by extreme heat. TDCJ has previously

acknowledged heat-related deaths dating back to 1998. As Judge Keith P. Ellison found in a case

arising out of the death of TDCJ prisoner Larry McCollum:

       It is undisputed that five men died in 1998 from environmentally-caused
       hyperthermia while incarcerated in TDCJ facilities. Between 1999 and 2010, five
       more individuals are known to have died from hyperthermia or other heat-related
       illnesses while incarcerated in Texas prisons. In 2011, Texas experienced an


465
    See Findings of Fact, Section V., supra.
466
    See Findings of Fact, Section IV.A., supra. In that case, Judge Ellison found that Mr. Collier
was aware that a risk of serious harm existed as a result of the extreme temperatures in the Pack
Unit and, alternatively, that the risk of harm was obvious. See Cole, 2017 WL 3049540, *40.
467
    See Findings of Fact, Section IV.A., supra.
468
    See Findings of Fact, Section IV.A., supra.

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          “unprecedented” heat wave, and ten more individuals died from hyperthermia.
          McCollum was the second individual to die of heat-related illness during the
          summer of 2011.

McCollum v. Livingston, No. 4:14-CV-3253, 2017 WL 608665, at *1 (S.D. Tex. Feb. 3, 2017). As

the Fifth Circuit has recognized, “TDCJ officials are, or have been, defendants in numerous other

cases alleging Eighth Amendment violations based on excessive heat in prison.” Yates, 868 F.3d

at 360 (citing Hinojosa, 807 F.3d at 661 (deciding appeal involving TDCJ prisoner who suffered

a seizure at night due to high indoor temperatures, “[fell] out of his bed and was convulsing,” and

died twenty minutes later); Webb v. Livingston, 618 F. App’x 201, 204 (5th Cir. 2015) (deciding

appeal involving the “heat-related deaths of five prisoners who died while housed in facilities

operated by [TDCJ]”); Valigura v. Mendoza, 265 F. App’x 232, 233–34 (5th Cir. 2008) (deciding

appeal involving prisoner who alleged that “temperatures in the bunk area reached into the nineties

and hundreds due to poor ventilation” and that “he was not able to use the restroom or showers

without lengthy waits, which caused him severe discomfort”). Mr. Collier admitted that he was

aware of ten heat-related deaths in the summer of 2011 alone. Thus, these lawsuits not only placed

Mr. Collier on notice of the substantial risk of serious harm Texas inmates face from extreme heat;

they also established the obviousness of that risk.

          Third, multiple studies were sent to Mr. Collier personally, warning him and TDCJ that

heat-related deaths had occurred in TDCJ prisons. For instance, the study published by Dr. Skarha

and Dr. Zanobetti in 2022 concluded that there were 271 deaths attributable to extreme heat in

Texas prisons without air-conditioning from 2001 to 2019—an average of 14 deaths per year.469

The same study concluded that there was not a single heat-related death in TDCJ’s climate-




469
      See Findings of Fact, Section IV.A., supra.

                                                    70
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controlled prisons during this period.470 Likewise, a study published by Texas A&M in 2022

revealed that 29% of the TDCJ inmates surveyed said that they knew at least one heat-related death

in their own unit or at another.471 The A&M Study also warned that “increasing annual

temperatures and the increase of days over 100 degrees in Texas will continue to exacerbate the

degradation of health for both incarcerated people and staff in the TDCJ system.”472 Mr. Collier

admitted during the hearing that he received both of these studies and reviewed them.473

       Last, Mr. Collier is well-aware of the substantial risk of serious harm from extreme heat,

because of safe-temperature mandates in jails and federal prisons in Texas and in other state prison

systems across the country. Since 1994, state-wide regulations adopted by the Texas Commission

on Jail Standards have required all jails in Texas to maintain indoor temperatures between 65 and

85.474 Notably, this range departs significantly from that required inside other government

buildings in Texas to maintain “comfortable” levels (e.g., between 68 and 78).475 North Carolina,

Tennessee, and the federal Bureau of Prisons have implemented similar standards.476 TDCJ has

nevertheless refused to do the same.

                       b. Mr. Collier’s response to the substantial risk of death and serious
                          harm from extreme heat is inadequate and unreasonable.

       The “mere presence of remedial measures” is not a defense to an Eighth Amendment

violation. Webb, 618 F. App’x at 209 n.7; see also Cole, 2017 WL 3049540, at *41 (rejecting Mr.




470
    See Findings of Fact, Section IV.A., supra.
471
    See Findings of Fact, Section V., supra.
472
    See Findings of Fact, Section V., supra.
473
    See Findings of Fact, Section V., supra.
474
    See Findings of Fact, Section VI.D., supra.
475
    See Findings of Fact, Section VI.D., supra.
476
    See Findings of Fact, Section VI.D., supra.

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Collier’s argument TDCJ was not deliberately indifferent simply because TDCJ “implemented

several mitigating measures since the deaths in 2011 and 2012”). Prison officials cannot “insist[]

upon a course of action that has already proven futile.” Lewis v. Cain, No. CV 15-318-SDD-RLB,

2023 WL 7299130, at *47 (M.D. La. Nov. 6, 2023). Nor can they rely on mitigation measures that

have nothing more than a “negligible impact” on the danger posed to inmates from extreme heat.

Laube v. Haley, 234 F. Supp. 2d 1227, 1251 (M.D. Ala. 2002). They are instead required to

implement mitigation measures that “adequate[ly] . . . protect inmates from the extreme heat.”

Webb, 618 F. App’x at 209 n.7; see also Cole, 2017 WL 3049540, at *41 (“[T]he effectiveness of

the measures implemented by TDCJ is relevant to the Court’s analysis.”).

          Seven years ago, Judge Ellison held that many of the same mitigation measures Mr. Collier

relies on here—respite rooms, cold showers, access to ice water, and fans—“do not stop Plaintiffs

from experiencing the symptoms of heat-related illnesses and do not reduce the risk of serious

injury or death to a socially acceptable level.” Cole, 2017 WL 3049540, at *40. Judge Ellison

explained that those measures were, “by and large ineffective at reducing the heat stress placed on

Plaintiffs’ bodies” and were nothing more than “the bare minimum.” Id. at *40-42. By

implementing such measures, Judge Ellison held, Mr. Collier “ignored the risk of harm faced by

the population [he] serve[s]” and was thus deliberately indifferent to the substantial risk of serious

harm that inmates in the Pack Unit faced from the extreme heat. Id. at *42. The Texas House

Corrections Committee reached the same conclusion the following year: “Based on the medical

information known about human health and heat-related health risks, TDCJ cannot rely only on

mitigation factors to assure the well-being of inmates and corrections personnel.”477




477
      See Findings of Fact, Section V., supra.

                                                 72
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       Despite Judge Ellison’s rebuke, and the Texas Legislature’s clear mandate, and despite

having seven years to adequately address the substantial risk of serious harm that extreme heat

poses to inmates in unairconditioned cells, Mr. Collier has failed to do so. Indeed, he largely relies

on the same mitigation measures in this case that Judge Ellison found inadequate in the Cole case.

       Unsurprisingly, the uncontroverted evidence shows that those heat-mitigation measures are

still inadequate seven years later. Even when available, respite is, by its very nature, temporary

and places the onus on inmates to recognize when they are developing symptoms of a heat-related

illness, even though such symptoms can be subtle and can include cognitive impairments that

render an inmate unable to help themselves.478 Cold showers, even when available, have no

statistically significant impact on heat-related mortality and, at best, provide relief for only a few

minutes.479 Fans are not only ineffective but actually increase the risk of heat-related illness at heat

indexes over 99.480 Even unfettered access to ice and water, which Plaintiffs’ evidence

demonstrates is inconsistent, is insufficient. 481 The Court notes again that TDCJ surveillance video

captured Mr. Castillo visiting the water cooler 23 times in the 24 hours before his heat-related

death and Mr. Womack was seen passing water bottles in his cell in the hours before his death.482

And, as Professor Deitch testified, even if these measures worked in theory, understaffing has had

an “enormous impact” on TDCJ’s ability to implement these heat-mitigation measures.483

       Nor is TDCJ’s “heat score” system—which was implemented as a result of the settlement

in the Cole case—an adequate remedy to the substantial risk of serious harm faced by TDCJ



478
    See Findings of Fact, Section V.A., supra.
479
    See Findings of Fact, Section V.C., supra.
480
    See Findings of Fact, Section V.D., supra.
481
    See Findings of Fact, Section V.E., supra.
482
    See Findings of Fact, Section IV.C.2., supra.
483
    See Findings of Fact, Section V.A., supra.

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inmates in unairconditioned facilities. To begin with, although all TDCJ inmates (even the young

and healthy) face such a risk, only approximately 12,289 of the 134,500 individuals incarcerated

in the TDCJ system (i.e., less than 10%) have a heat score. 484 This is reason enough to find the

system inadequate. Nor does the system even accomplish its purported goal of protecting

especially vulnerable, heat-sensitive inmates. For instance, inmates do not automatically receive a

score for having mental illness, taking one of the many medications that impair thermoregulation,

or being above the age of 65—all of which Plaintiffs’ experts identified as making inmates more

susceptible to heat.485 Indeed, many of the medical conditions and medications that UTMB’s

policies identify as affecting heat tolerance are not incorporated into TDCJ’s heat score algorithm

either.486 If Mr. Tiede—who is 65 years old and has been diagnosed with a stroke, diabetes,

hypertension, pulmonary disease, and obesity—does not have a heat score,487 then the system is

arbitrary and ineffective at accomplishing even its stated, already underinclusive goal of protecting

heat-sensitive inmates. Mr. Collier thus cannot rely on the heat score system to avoid liability

under the Eighth Amendment.

       Most troubling to the Court, however, is the fact that none of these measures prevented

(i) the several dozen deaths that Ds. Skarha and Dr. Zanobetti attributed to heat even after heat-

mitigation measures were implemented, (ii) the three heat-related deaths that Mr. Collier admits

occurred last summer, (iii) the two additional heat-related deaths that Dr. Uribe and Dr. Vassallo

testified occurred last summer, or (iv) the 35 heat-related illnesses of TDCJ inmates identified by

UTMB that occurred in 2022 and 2023. In short, TDCJ’s mitigation measures have “not stop[ped]



484
    See Findings of Fact, Section V.A., supra.
485
    See Findings of Fact, Section V.A., supra.
486
    See Findings of Fact, Sections II. and V.A., supra.
487
    See Findings of Fact, Section VI.C., supra.

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[TDCJ inmates] from experiencing the symptoms of heat-related illnesses and [did] not reduce the

risk of serious injury or death to a socially-acceptable level.” Cole, 2017 WL 3049540, at *40.

          What Mr. Collier has not done “in the face of the substantial risk of harm is also relevant

to the Court’s analysis.” Id. at *42. Despite knowing of the risks extreme heat poses to all inmates

and the inadequacy of TDCJ’s mitigation measures, Mr. Collier has no concrete timeline for

installing permanent or temporary air-conditioning in TDCJ inmate living areas. 488 TDCJ has not

solicited bids for installing either temporary or permanent air-conditioning throughout TDCJ

facilities.489 Although Mr. Collier has added 8,940 cooled beds since 2018 (including the 1,436

ordered as part of the Pack Unit settlement), this averages only 1,376 beds per year.490 At that rate,

it would take TDCJ approximately 70 years—i.e., until 2094—to install air-conditioning

throughout the system.491 Even crediting the most favorable evidence introduced at the hearing to

Mr. Collier, it will take 25 to 30 years to add air-conditioning to all inmate living areas, assuming

the Texas Legislature allocates funds to do so.492 This timeline exposes over 95,000 inmates to the

substantial risk of serious injury or death from unairconditioned prisons and, with inmate turnover,

would continue to expose hundreds of thousands of inmates to the substantial risk of injury or

death from extreme heat over the next two to three decades. Mr. Collier, likewise, did not identify

(let alone present any evidence of) a less intrusive alternative to temperature control that would

reduce the risk of death and serious bodily injury to a “socially acceptable level.” Ball I, 792 F.3d

at 599.




488
    See Findings of Fact, Section VI.C., supra.
489
    See Findings of Fact, Section VI.C., supra.
490
    See Findings of Fact, Section VI.C., supra.
491
    See Findings of Fact, Section VI.C., supra.
492
    See Findings of Fact, Section VI.C., supra.

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       In sum, the Court finds that, despite a significant risk of harm faced by inmates in

unairconditioned TDCJ prisons, Mr. Collier has implemented mitigation measures he knows are

inadequate—and which are obviously inadequate—to reduce the substantial risks of serious harm

posed by extreme heat. And he has implemented (or has a plan to implement) the only reasonable

mitigation measure that he knows is adequate to reduce or eliminate the risk—air-conditioning—

at a pace that disregards the substantial risk of harm the inmates face. Thus, based on the totality

of the evidence, it is substantially likely that Mr. Collier has acted with deliberate indifference.

Accordingly, Plaintiffs have shown a likelihood of success on the merits of their Eighth

Amendment claim.

       B.      The Organizational Plaintiffs have established associational standing.

       The Court has already determined that Plaintiffs have standing, and that the Organizational

Plaintiffs “meet the requirements of associational standing.” ECF 95 at 6–10 (denying Mr.

Collier’s Rule 12(b)(1) motion to dismiss). With respect to the latter, the Court specifically

determined that “at least one of the Organizational Plaintiffs, Lioness, is a traditional membership

organization with hundreds of members who are TDCJ prisoners,” and that “the Organizational

Plaintiffs’ members are not required to participate in this lawsuit individually.” ECF 95 at 8, 10.

       While the Court does not need to revisit these determinations,493 the evidence further

confirms that Lioness is a traditional “voluntary membership organization with identifiable

members.”494 SFFA III, 600 U.S. at 201. The evidence shows that Lioness has hundreds of


493
    See, e.g., Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll. (“SFFA
II”), 397 F. Supp. 3d 126, 184 (D. Mass. 2019) (relying on earlier associational standing analysis
when denying Rule 12(b)(1) as part of the court’s post-trial conclusions of law) (citing Students
for Fair Admissions, Inc. v. President & Fellows of Harvard Coll. (“SFFA I”), 261 F. Supp. 3d
99, 110–11 (D. Mass. 2017)) (cited with approval in Students for Fair Admissions, Inc. v. President
& Fellows of Harvard Coll. (“SFFA III”), 600 U.S. 181, 199 (2023)).
494
    See Findings of Fact, Section I.A., supra.

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members who have joined voluntarily, support the organization’s mission, and are current TDCJ

prisoners assigned to unairconditioned units.495 Moreover, Lioness’s members would have

standing to sue in their own right—members housed in unairconditioned units in particular face

“substantial risk of serious harm and death” from the extreme heat, that injury is traceable to Mr.

Collier’s deliberate indifference and refusal to take the necessary steps to protect members from

the extreme summer heat, and the injunctive relief sought will redress their injuries. See Crawford

v. Hinds Cty. Bd. of Supervisors, 1 F.4th 371, 375 (5th Cir. 2021) (listing elements for Article III

standing). Under SFFA III, that is all the evidence that is required to support associational standing.

600 U.S. at 201; see also VanDerStok v. Garland, 680 F. Supp. 3d 741, 762 (N.D. Tex. 2023)

(relying on affidavits from organizations’ leadership describing membership to find that they are

traditional membership organizations), vacated in part on other grounds, 86 F.4th 179 (5th Cir.

2023); Nat’l Rifle Ass’n of Am., Inc. v. ATF, No. 3:23-CV-1471-L, 2024 WL 1349307, at *6 (N.D.

Tex. Mar. 29, 2024) (same). “Where, as here, an organization has identified members and

represents them in good faith, [the Supreme Court’s decisions] do not require further scrutiny into

how the organization operates.” SFFA III, 600 U.S. at 201. In short, Lioness is a traditional

voluntary membership organization that has standing to sue on behalf its members.

          Although the Court only needs to find standing for at least one Plaintiff, the evidence also

shows that the remaining Organizational Plaintiffs also meet the requirements for associational

standing, as they have constituents housed in unairconditioned units who “were effectively

members” of the organization. Id. at 199–200 (discussing Hunt v. Washington State Apple

Advertising Comm’n, 432 U.S. 333, 336–44 (1977)). The Court finds that CTD, TCPA, and TX

C.U.R.E. each have standing to assert claims on behalf of their constituents, which includes TDCJ



495
      See Findings of Fact, Section I.A., supra.

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prisoners housed in unairconditioned units because those prisoners possess sufficient “indicia of

membership” in their respective organizations.496 Hunt, 432 U.S. at 344-45.

       Hunt’s “indicia of membership” test ensures that an organization “represent[s] the

individuals it claims as members” and “provide[s] the means by which those individuals express

their collective views and protect their collective interest.” Funeral Consumers All., Inc. v. Serv.

Corp. Int’l, 695 F.3d 330, 344 n.9 (5th Cir. 2012). The test is satisfied when a group serves a

“specialized segment” of the community that is “the primary beneficiary of its activities.” Hunt,

432 U.S. at 344; see also Oregon Advoc. Ctr. v. Mink, 322 F.3d 1101, 1111 (9th Cir. 2003) (finding

associational standing where constituents—incapacitated criminal defendants—comprised a

“specialized segment” of the community that was the primary beneficiary of the group’s activities);

AARP, 226 F. Supp. 3d at 17 (finding associational standing where an organization with a “defined

mission” serves a “discrete, stable membership with a definable set of common interests”).

       CTD, TCPA, and TX C.U.R.E. each have a “defined mission” and serve a “discrete”

segment with a “definable set of common interests” in this action.497 AARP, 226 F. Supp. 3d at 17;

see also Am. Leg. Found. v. F.C.C., 808 F.2d 84, 90 (D.C. Cir. 1987). Specifically, TPCA and TX

C.U.R.E. serve incarcerated Texans and their families, and CTD serves Texans incarcerated with

disabilities.498 The organizations’ constituents also play a role in “guiding [the organization’s]




496
    As Lioness is a traditional membership organization the “indicia of membership” analysis does
not need to be addressed. See SFFA III, 600 U.S. at 201; La Unión Del Pueblo Entero v. Abbott,
614 F. Supp. 3d 509, 526 (W.D. Tex. 2022). However, even if Lioness were subject to the “indicia
of membership” test for associational standing, it would satisfy the criteria. See, e.g., AARP v.
United States Equal Employment Opportunity Comm’n, 226 F. Supp. 3d 7, 17 (D.D.C. 2016)
(finding that the Court need not address whether AARP was a “traditional membership
organization” where it otherwise “satisfies the ‘indicia of membership’ criteria”).
497
    See Findings of Fact, Sections I.B. through I.D., supra.
498
    See Findings of Fact, Sections I.B. through I.D., supra.

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activities” and can “participate directly in making and implementing day-to-day decisions.” 499 TX

C.U.R.E. engages in directly with its constituents, including specific individuals who “have

suffered from exposure to excessive heat” in an unairconditioned TDCJ unit. 500 TPCA similarly

engages regularly with its incarcerated constituents and has “team members” inside TDCJ prisons

work directly with the organization.501 And CTD’s board is “directly selected from its members”

and its members “financially support the organization.”502 Thus, each of these organizations “is

sufficiently identified with and subject to the influence of those it seeks to represent as to have a

personal stake in the outcome of the controversy.” Mink, 322 F.3d at 1111 (quotations omitted).

Under Hunt’s “indicia of membership” test, CTD, TCPA, and TX C.U.R.E. also have associational

standing to represent the interests of their constituents.

       C.      The Prison Litigation Reform Act’s (“PLRA”) exhaustion requirement does
               not apply to the Organizational Plaintiffs.

       Nor are the Organizational Plaintiffs required to exhaust under the PLRA. The

Organizational Plaintiffs are not persons capable of being incarcerated or detained, so they are not

“prisoners” as the term is defined by the Act. 42 U.S.C. § 1997e(a), (h); Alabama Disabilities

Advoc. Pgm. v. Wood, 584 F. Supp. 2d 1314, 1316 (M.D. Ala. 2008); Dunn v. Dunn, 219 F. Supp.

3d 1163, 1176 (M.D. Ala. 2016). The PLRA’s exhaustion requirement thus does not apply to them.

       This holding is consistent with those of other courts that have found that those who sue as

representatives of prisoners are not “prisoners” under the PLRA, and thus are not bound by the

exhaustion requirements of the PLRA. See, e.g., Tretter v. Pennsylvania Dept. of Corrections, 558




499
    See Findings of Fact, Sections I.B. through I.D., supra.
500
    See Findings of Fact, Section I.B., supra.
501
    See Findings of Fact, Section I.C., supra.
502
    See Findings of Fact, Section I.D., supra.

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F. App’x 115, 157 (3rd Cir. 2014) (unpublished) (representative of deceased inmate and

administratrix of his estate was not a “prisoner” required to exhaust administrative remedies);

Rivera-Rodriguez v. Pereira-Castillo, No. 04-1389(HL), 2005 WL 290160, *6 (D.P.R. Jan. 31,

2005) (finding that the plain language of the PLRA excludes family members and guardians of

incarcerated minors); see also Wormley v. United States, 601 F. Supp. 2d 27, 46 (D.D.C. 2009)

(finding PLRA applies only to a “prisoner” and does not require exhaustion by non-prisoners even

for claims related to their earlier detentions).

          The Court declines to follow the holding of Green Haven Prison Preparative Meeting of

Religious Society of Friends v. New York State Department of Corrections and Community

Supervision, 16 F.4th 67 (2d. Cir. 2021). Central to the holding in that case was the finding that

those prisoners formed their organization expressly to avoid the requirements of the PLRA. Id. at

82. No such evidence exists here; instead, Plaintiffs’ evidence demonstrates that each of the

Organizational Plaintiffs existed for several years before this suit was filed.503 Plaintiffs’ evidence

also shows that though obtaining air-conditioning for Texas prisoners is central to the missions of

the Organizational Plaintiffs, it is not the only mission of the Organizational Plaintiffs who

advocate more broadly for safe prison conditions for their members and constituents. 504

III.      TDCJ PRISONERS WILL SUFFER IRREPARABLE HARM ABSENT INJUNCTIVE RELIEF.

          “[A] harm is irreparable, in the context of a preliminary injunction, where there is no

adequate remedy at law[.]” Janvey v. Alguire, 647 F.3d 585, 600 (5th Cir. 2011). “An injunction

is of no help if one must wait to suffer injury before the court grants it.” Texas v. United States,

809 F.3d 134, 173 n.137 (5th Cir. 2015). For this reason, “[w]hen an alleged deprivation of a




503
      See Findings of Fact, Sections I.B. through I.D., supra.
504
      See Findings of Fact, Sections I.B. through I.D., supra.

                                                   80
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constitutional right is involved, . . . most courts hold that no further showing of irreparable injury

is necessary.” Wright & Miller, 11A Fed. Prac. & Proc. Civ. § 2948.1 (3d ed.) (quoted in Cole,

2017 WL 3049540, at *43).

       Plaintiffs have shown that TDCJ inmates in unairconditioned prisons will experience

irreparable harm, absent court intervention. TDCJ’s own public reports to the Texas Legislature

from 2023 identify that, at minimum, three TDCJ inmates died and 17 more were injured as a

result of the extreme heat in their unairconditioned living areas last summer.505 Plaintiffs’

evidence, including the testimony of Drs. Skarha, Zanobetti, Vassallo, and Uribe, demonstrate that

extreme heat has injured and killed additional TDCJ inmates in addition to those identified by

TDCJ itself.506

And the symptoms inmates suffer—standing alone—are constitutionally significant injuries

justifying preliminary relief. See Blackmon v. Garza, 484 F. App’x 866, 872 (5th Cir. 2012)

(headaches, dizziness, nausea, lightheadedness, difficulty catching breath, and blurred vision, even

without medical documentation of the symptoms, are sufficient injuries).507

       The record evidence shows that exposure to the risks of extreme heat itself is also

irreparable injury requiring preliminary relief. See Ball I, 792 F.3d at 593-94. Dr. Vassallo testified

that exposure to a heat index of 88 or higher poses a substantial risk of adverse outcomes for

everyone and, again, Defendant’s witness, Dr. Leonardson agreed that temperatures at and above

90 exposes inmates to a serious risk of heat-related illness and death.508 While the Court

acknowledges that Mr. Collier has a goal of installing air-conditioning throughout the inmate



505
    See Findings of Fact, Sections IV.C. and IV.G., supra.
506
    See Findings of Fact, Sections IV.D. through IV.G., supra.
507
    See Findings of Fact, Section III.A., supra.
508
    See Findings of Fact, Section III.A., supra.

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living areas in all TDCJ prisons, goals to make prisons safe do not satisfy the Eighth Amendment,

and hundreds of thousands of inmates will remain exposed to high temperatures in TDCJ’s

unairconditioned prisons in the 25 to 30 years it will take to air-condition all inmate living areas.

Without court intervention, TDCJ inmates will thus continue to suffer scores of heat-related deaths

and injuries.

       The Court finds there is no adequate remedy at law for these constitutional violations, as

they will continue absent injunctive relief.

IV.    THE REMAINING FACTORS FAVOR INJUNCTIVE RELIEF.

       Courts “must balance the competing claims of injury and must consider the effect on each

party of the granting or withholding of the requested relief.” Amoco Prod. Co. v. Village of

Gambell, Alaska, 480 U.S. 531, 542 (1987). When the state or one of its officials is a party, as is

the case here, the balance of hardship is considered in tandem with the public’s interest. Nken v.

Holder, 556 U.S. 418, 435 (2009); United States v. Abbott, No. 23-50632, 2024 WL 3580743, at

*11 (5th Cir. July 30, 2024).

       Mr. Collier has tried to defend the unconstitutional and inhumane living conditions based

on the lack of money at his disposal, and the Texas Legislature not having funded state-wide air-

conditioning in TDCJ prisons. But “[e]ven if the remedies ordered would be ‘fiscally catastrophic’

for TDCJ, . . . the Fifth Circuit has held that ‘inadequate resources can never be an adequate

justification for depriving any person of his constitutional rights.’” Cole, 2017 WL 3049540, at

*43 (quoting Udey v. Kastner, 805 F.2d 1218, 1220 (5th Cir. 1986)); see also Gates, 501 F.2d at

1319 (collecting cases where “the defenses of fund shortage and the inability of the district court

to order appropriations by the state legislature, have been rejected by the federal courts”). Put

another way, Mr. Collier’s obligation “to eliminate existing unconstitutionalities does not depend

upon what the Legislature may do, or upon what the Governor may do, or, indeed, upon what [he]
                                                 82
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may actually be able to accomplish.” Wyatt v. Aderholt, 503 F.2d 1305, 1315 (5th Cir. 1974); see

also Farmer, 511 U.S. at 853-54 (Blackmun, J., concurring) (“[O]ur Constitution sets minimal

standards governing the administration of punishment in this country, and thus it is no answer to

the complaints of the brutalized inmate that the resources are unavailable to protect him from what,

in reality, is nothing less than torture.” (citation omitted)).

          The Court agrees with the reasoning of the court in Jones’El v. Berge, which found that:

          [i]t is no defense for defendants to argue that the taxpayers may object to providing
          air conditioning to state prisoners. Defendants constructed a facility in which
          inmates are subjected to temperatures that can pose a serious risk to their well-
          being, particularly if they are taking medications or have health conditions that
          prevent their bodies from adjusting to high heat. If air conditioning is the only
          means of avoiding that risk, that is a function of defendants’ decisions to build the
          facility as they did. Leaving inmates vulnerable to serious health consequences or
          death is not a reasonable alternative.

No. 00-C-421-C, 2003 WL 23109724, at *1 (W.D. Wis. Nov. 26, 2003), aff’d sub nom, Jones-El

v. Berge, 374 F.3d 541 (7th Cir. 2004); see also Ensley Branch, N.A.A.C.P. v. Seibels, 31 F.3d

1548, 1574 (11th Cir. 1994) (“The Constitution does not put a price on constitutional rights, in

terms either of time or money. The rights guaranteed by the Constitution are to be made effective

in the present.” (citation omitted)); Battle v. Anderson, 594 F.2d 786, 792 (10th Cir. 1979)

(“[C]onstitutional treatment of human beings confined to penal institutions . . . is not dependent

upon the willingness or the financial ability of the state to provide decent penitentiaries.”).

          Further, while Mr. Collier produced some evidence concerning the cost of implementing

temporary and permanent air-conditioning in TDCJ’s unairconditioned inmate living areas, Mr.

Hudson admitted that TDCJ’s cost estimates were not based on any actual bids but were instead

“pie in the sky” numbers,509 rendering these estimates too unreliable for the Court to credit at this




509
      See Findings of Fact, Section VI.C., supra.

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stage of proceedings. Mr. Collier agrees that installing temporary and permanent air-conditioning

throughout the TDCJ system is feasible.510 And it shows that TDCJ has been able to obtain

additional funds from the Governor’s office and the Texas Legislature in the past or to otherwise

allocate funds to comply with court orders and state jail standards requiring air-conditioning.511

While the Court acknowledges that air-conditioning TDCJ inmate living areas will come with

significant cost, Texas has an estimated $18.29 billion surplus for this upcoming legislative

session, and TDCJ has a multi-billion-dollar budget.512

       The public interest, likewise, favors entering a preliminary injunction. “It is always in the

public interest to prevent the violation of a party’s constitutional rights.” Jackson Women’s Health

Org. v. Currier, 760 F.3d 448, 458 n.9 (5th Cir. 2014) (quoting Awad v. Ziriax, 670 F.3d 1111,

1132 (10th Cir. 2012)). Preserving inmates’ health “is in the public interest,” whereas allowing

“in-custody inmate death[s] is necessarily not in the public interest.” (ECF 19 at 4.) Keeping

inmates in extreme temperatures for extended periods of time serves no legitimate penological

purpose. Cf. Madrid v. Gomez, 889 F. Supp. 1146, 1172 (N.D. Cal. 1995) (“Leaving inmates in

outdoor cages for any significant period—as if animals in a zoo—offends even the most

elementary notions of common decency and dignity. It also fails to serve any legitimate

penological purpose in any kind of weather, much less cold and rainy weather.”). Instead, it “can

only be considered punishment for punishment’s sake.” Jones’El, 164 F. Supp. 2d at 1098-1117.




510
    See Findings of Fact, Section VI.B., supra.
511
    See Findings of Fact, Section VI.B., supra.
512
    See Findings of Fact, Section VI.C., supra.

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          Because the Court has found that the rights of TDCJ inmates housed in unairconditioned

prisons are being continuously violated by the extreme heat in TDCJ’s unairconditioned inmate

living areas, this factor weighs in favor of granting a preliminary injunction.

V.        THE COURT WILL WAIVE THE BOND REQUIREMENT.

          In entering a preliminary injunction, a federal court may waive the bond requirement or

otherwise elect to require no security. See City of Atlanta v. Metro Atlanta Rapid Transit. Auth.,

636 F.2d 1084, 1094 (5th Cir. 1981). Doing so is particularly appropriate in the realm of public

interest litigation where, as is the case here, indigent and not-for-profit organizations seek to

enforce constitutional rights. Id.; see also Cole, 2017 WL 3049540, at *44 (waiving the

requirement of bond in similar litigation). The Court requires no security from Plaintiffs.

VI.       THE COURT HAS THE POWER TO ISSUE THE REQUESTED RELIEF.

          Although Mr. Collier’s counsel suggested that the Court cannot order the State to do

anything in this context,513 even if necessary to remedy unconstitutional conditions, TDCJ is not

above the law. Courts “must not shrink from their obligation to enforce the constitutional rights of

all persons, including prisoners.” Brown v. Plata, 563 U.S. 493, 511 (2011) (quotation marks

omitted and emphasis added); see id. (“A prison that deprives prisoners of basic sustenance,

including adequate medical care, is incompatible with the concept of human dignity and has no

place in civilized society. . . Courts may not allow constitutional violations to continue simply

because a remedy would involve intrusion into the realm of prison administration.”).

          The PLRA, however, limits the preliminary relief this Court can order. “Preliminary

injunctive relief must be narrowly drawn, extend no further than necessary to correct the harm the

court finds requires preliminary relief, and be the least intrusive means necessary to correct that



513
      Final Hearing Tr. (July 30, 2024) at 25:8-17.

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harm.” 18 U.S.C. § 3626(a)(2). The Court must “give substantial weight to any adverse impact on

public safety or the operation of the criminal justice system.” Id. Preliminary relief automatically

expires after 90 days, “unless the court makes the findings required under subsection (a)(1) for the

entry of prospective relief and makes the order final before the expiration of the 90-day period.”

Id.

          Under the PLRA, “plaintiffs are not entitled to the most effective available remedy,” but

they are nevertheless “entitled to a remedy that eliminates the constitutional injury.” Ball I, 792

F.3d at 599 (citation omitted). In other words, the remedy must “reduce[] the risk of harm to a

socially acceptable level.” Id. As the Supreme Court has held, in ordering a state-wide reduction

in California’s prison population due to the unconstitutional conditions caused by overcrowding:

          The population reduction potentially required is nevertheless of unprecedented
          sweep and extent. Yet so too is the continuing injury and harm resulting from these
          serious constitutional violations. For years the medical and mental health care
          provided by California’s prisons has fallen short of minimum constitutional
          requirements and has failed to meet prisoners’ basic health needs. Needless
          suffering and death have been the well-documented result. Over the whole course
          of years during which this litigation has been pending, no other remedies have been
          found to be sufficient.
          ...

          This Court now holds that the PLRA does authorize the relief afforded in this case
          and that the court-mandated population limit is necessary to remedy the violation
          of prisoners’ constitutional rights.

Plata, 563 U.S. at 501-02.

          The Court has concluded that the Organizational Plaintiffs have demonstrated a likelihood

of success on the merits of their Eighth Amendment claim. They have shown that the extreme heat

in unairconditioned prisons, even with the TDCJ’s mitigation measures in place, exposes all TDCJ

inmates to a substantial risk of serious injury or death.514 And they have demonstrated the



514
      See Findings of Fact, Sections III. through IV., supra.

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mitigation measures do not either “eliminate the constitutional injury” or “reduce[] the risk of harm

to a socially acceptable level.” Id. Plaintiffs offered unrebutted testimony from Dr. Vassallo and

Dr. Uribe that John Southards, Elizabeth Hagerty, John Castillo, Armando Gonzales, and Patrick

Womack died from the heat and would not have died last summer if they had been in air-

conditioned cells.515 And Plaintiffs provided unrebutted testimony from Dr. Skarha and Dr.

Zanobetti that TDCJ inmates will continue to die in unairconditioned cells each summer.516 See

Plata, 563 U.S. at 535 (in fashioning “injunctive relief to remedy serious constitutional violations

in the prisons. . . [c]ourts can, and should, rely on relevant and informed expert testimony when

making factual findings”). It is not “socially acceptable” for any inmates to die from the heat

simply because they lack air-conditioning, let alone five in a single summer. Ball I, 792 F.3d at

599.

       TDJC has tried all mitigation measures short of air-conditioning. None have prevented

heat-related deaths or illnesses, nor have any reduced the risk of serious harm or death from

extreme heat to a “socially acceptable” level. Id. Mr. Collier, likewise, did not identify any

alternative, less-intrusive mitigation measures at the hearing, let alone offer any evidence that such

measures would “eliminate[] the constitutional injury” inflicted by extreme heat. Id. Instead, as

Dr. Vassallo and Mr. Williams testified, putting everyone in the TDCJ system in air-conditioned

housing is the only way to eliminate the heat risk and the deaths and illnesses.517 Mr. Collier has,

likewise, presented no evidence that installing air conditioning will have “any adverse impact on

public safety or the operation of a criminal justice system.” Ball I, 792 F.3d at 598-99. To the




515
    See Findings of Fact, Sections IV.C. and IV. D., supra.
516
    See Findings of Fact, Section IV.B., supra.
517
    See Findings of Fact, Section VI.A., supra.

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contrary, Mr. Collier’s Rule 30(b)(6) designee admitted that installing air conditioning throughout

TDCJ “is the right thing to do, it is the humane thing to do, and it is something [TDCJ] should

have done a long time ago.”518 Maintaining the inmate living areas at safe temperatures below 85°

is thus a necessary, narrowly tailored remedy that is no more intrusive than required to meet the

heat crisis in TDCJ’s unairconditioned prisons. Cf. Plata, 563 U.S. at 500 (“After years of

litigation, it became apparent that a remedy for the constitutional violations would not be effective

absent a reduction in the prison system population.”).

       This relief is also not foreclosed by Ball I, for three reasons. First, Yates flatly rejected the

argument that Ball I prohibited an injunction requiring air-conditioning. Yates, 868 F.3d at 370

(“Relying on our decision in Ball v. LeBlanc, Defendants argue that the PLRA categorically

prohibits an injunction requiring that the Pack Unit be air-conditioned. This is not so.” (emphasis

added)). As the Yates court explained, Ball I “held that air-conditioning was not appropriate in that

case, because other acceptable and less-intrusive remedies had yet to be tried—not that air-

conditioning was an impermissible remedy.” Id. And the Yates court reaffirmed the district court’s

assertion that air conditioning inmate housing areas could be ordered if it was “indeed the least

intrusive means of correcting the violation.” Id. at 370 (quoting Cole v. Livingston, No. 4:14-CV-

1698, 2016 WL 3258345, at *10 (S.D. Tex. June 14, 2016) (Ellison, J.)). Here, every alternative,

less-intrusive remedy has been tried by TDCJ and has failed to either eliminate the risk of heat-

related illness and death or reduce it to a “socially acceptable” level. Ball I, 792 F.3d at 599.519




518
   See Findings of Fact, Section VI.A., supra.
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   See also Ball v. LeBlanc, 881 F.3d 346, 356 n.2 (5th Cir. 2018) (“Ball II”) (Higginson, J.,
concurring in part) (“I read Ball I to narrowly say that air conditioning was not a permissible
remedy absent evidence that the more modest measures approved of in Gates were insufficient
for these plaintiffs.”).

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        Second, Ball I found a maximum heat index unnecessary, given that the injunction in Gates

lacked such a limit, and there was “no showing” in Ball I that “the Constitution mandated more

relief for these prisoners for the same prison condition in this case.” Id. at 600. Here, however,

Plaintiffs presented unrebutted evidence that temperatures over 85 pose a substantial risk of

serious harm. Dr. Skarha and Dr. Zanobetti found a one-degree increase above a heat index of 85

corresponds to a 0.7% increase in the risk of mortality, and Dr. Vassallo determined that a heat

index of 88o or higher poses a substantial risk of adverse health outcomes for everyone—even

young, healthy people.520 And in Yates, the court confirmed that the Gates injunction does not

reflect the permissible limits of relief. Yates, 868 F.3d at 371 (“Of course, just because Gates

affirmed a different injunction on a different record does not speak to whether the Plaintiffs’

requested relief in this case would be permissible under the PLRA.”).

        And third, Ball I “held that a facility-wide injunction was not appropriate under the PLRA

because only the three named plaintiffs were at issue.” Yates, 868 F.3d at 370. In other words,

installing facility-wide air conditioning was necessarily overly broad in Ball I, because that relief

was not “limit[ed] . . . to the particular plaintiffs before the court.” Ball I, 792 F.3d at 599 (“Ball,

Code, and Magee are the only plaintiffs before the court,” so “any relief must apply only to them,

if possible.”). Here, however, the Organizational Plaintiffs represent every inmate in the TDCJ

system521 (all of whom face a substantial risk of serious harm), so the Court’s relief must be tailored

accordingly. See Plata, 563 U.S. at 531-32 (“The scope of the remedy must be proportional to the

scope of the violation.”). Because the constitutional violation is system-wide, nothing short of



520
    See Findings of Fact, Sections III.A. and IV.B., supra. Ball II, likewise, does not prohibit the
relief ordered here, because the Fifth Circuit’s sole task in that case was “to interpret and enforce
the mandate issued by [the] panel” in Ball I. See Ball II, 881 F.3d at 348 n.2.
521
    See Findings of Fact, Section I., supra.

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system-wide relief will suffice. See id. (“The order also is not overbroad because it encompasses

the entire prison system,” given the findings of a “systemwide [constitutional] violation” and

“systemwide deficiencies”).

        Although normally a court is required by Rule 65 of the Federal Rules of Civil Procedure

to describe, in reasonable detail, the acts required by its injunction, the Supreme Court has held

that in cases against state prisons, a district court must give “adequate consideration to the views

of state prison authorities.” Lewis v. Casey, 518 U.S. 343, 362 (1996). Thus, instead of “dictat[ing]

precisely what course the State should follow,” the Court orders that Mr. Collier “devis[e] a

Constitutionally sound” plan to ensure the temperatures in inmate living areas are reduced to safe

temperatures. Id.

        The Court therefore orders that Mr. Collier must develop a plan to maintain the apparent

temperatures in all TDCJ inmate living areas during the summer months at no higher than 85

beginning April 15, 2025. This Court finds that this relief is narrowly drawn, does not extend

further than necessary to correct the harm, and is the last intrusive means necessary to correct the

violation of Plaintiffs’ Eighth Amendment right. The Court does not order Mr. Collier to reduce

temperatures to a level that is comfortable, but only to a level that reduces the significant, and

constitutionally unacceptable, risk of harm to an acceptable one. Because Texas’s hot summer

temperatures are ongoing, the Court orders Mr. Collier to submit his plan to the Court within 15

days of this order.

        The PLRA also prohibits the Court from ordering prospective relief that “requires or

permits a government official to exceed his . . . authority under State or local law or otherwise

violates State or local law unless (i) Federal law requires such relief to be ordered in violation of

State or local law; (ii) the relief is necessary to correct the violation of a Federal right; and (iii) no


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other relief will correct the violation of the Federal right.” 18 U.S.C. § 3626(a)(1)(B). The Court

concludes that the relief it orders today does not require Mr. Collier to exceed his authority under

Texas law; however, if it is determined that he does not have the authority to comply with this

order, the Court concludes that federal law requires the relief to be ordered, as the relief is

necessary to correct the violation of TDCJ inmates’ rights, and no other relief will correct this

violation.

       Based on the foregoing, it is ORDERED that:

       1.      Plaintiffs’ Emergency Motion for Preliminary Injunction is granted;

       2.      Mr. Tiede must be kept in air-conditioned housing for the duration of his
               sentence, which order will become final 89 days from the entry of this order
               (as required by 18 U.S.C. § 3626(a)(2)), unless the parties stipulate to an
               extension of the deadline before that date;

       3.      Mr. Collier shall, within 15 days from the date of this order, submit a plan
               to the Court that will ensure, beginning April 15, 2025, that the apparent
               temperatures in all TDCJ inmate living areas will be maintained at no higher
               than 85 during the summer months from April 15 to October 15; and

       4.      Within 15 days from the date of Mr. Collier’s submission of the above-
               referenced plan, Plaintiffs may file a response to Mr. Collier’s submission,
               if they so choose.

       Based on Mr. Collier’s submission and Plaintiffs’ response (if any), the Court will conduct

any further proceedings and enter any further orders it deems necessary to ensure that the

constitutional injury is remedied effectively and expeditiously—including a final order that will

be entered within the time period prescribed by 18 U.S.C. § 3626(a)(2).



                                              _____________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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DATED: August 22, 2024                       Respectfully submitted,


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                     CERTIFICATE OF SERVICE (CM/ECF)

       I HEREBY CERTIFY that on August 22, 2024, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, which served this pleading on all counsel of record.



                                               /s/ Kevin D. Homiak
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